      Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 1 of 136 PageID #:1


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                                      UNITED STATES DISTRICT COURT
                                                                                                . BRUTO    N
                                      NORTHERN DISTRICT OF ILLINOIS                   THOMA.SDG
                                                                                              IS T R IC T COURT
                                           EASTERN DIVISION                        CLERK, U.S



JUSTIN MAHWIKIZI,                                                   :
                                                                    :

                                                                                 1:21-CV-03467
     Plain=ﬀ.                                                       :
                                                                    :
v.                                                                  :   Case No. _______________
                                                                    :
CENTERS FOR DISEASE CONTROL & PREVENTION,                           :                 JUDGE SHAH
                                                                        Judge ________________________
                                                                    :    MAGISTRATE JUDGE WEISMAN
DEPARTMENT OF HEALTH & HUMAN SERVICES,                              :   Magistrate Judge _______________
                                                                    :
JAY ROBERT PRITZKER, in his oﬃcial capacity                         :
as Governor of Illinois,                                            :
                                                                    :
ILLINOIS DEPARTMENT OF PUBLIC HEALTH,                               :

Defendants.                                                         :



                    VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

Plain=ﬀ complains as follows:

                                          I. STATEMENT OF THE CASE



     This is a First Amendment cons=tu=onal challenge to provisions of the Federal Transporta=on Mask

Mandate (“FTMM”) as it applies in the State of Illinois and for Rideshare Drivers and Riders. (Exhibit 1)

     Plain=ﬀ JUSTIN MAHWIKIZI brings this suit to permanently enjoin enforcement of the Federal

Transporta=on Mask Mandate (“FTMM”) put into place by orders of Defendants Centers for Disease

Control & Preven=on (“CDC”), Department of Health & Human Services (“HHS”), na=onally, in addi=on

to Illinois Governor Jay Robert Pritzker, and the Illinois Department of Public Health, in Illinois.



     This lawsuit appears to be the third in the na=on to challenge aspects of the FTMM. Searches of

Ballotpedia’s database of 999 “lawsuits about state ac=ons and policies in response to the coronavirus

(COVID-19) pandemic, 2020-2021” revealed two lawsuits; Lucas Wall vs. CDC Et. al. and Corbef v. TSA.
         Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 2 of 136 PageID #:2




    The Court should hold the FTMM as an uncons=tu=onal exercise of execu=ve authority. The FTMM

exceeds CDC’s statutory authority because § 361 of the Public Health Service Act contains no authority

to adopt a na=onwide mask mandate for the transporta=on (or any other) sector.          Congress never

intended for the Execu=ve Branch to have the authority to promulgate these polices and even if it did,

they are uncons=tu=onal.



    Congress has enacted at least 20 laws directly concerning the coronavirus pandemic, yet none of

these have authorized a mask mandate. The Federal Defendants may not exercise their authority in a

manner that is inconsistent with the administra=ve structure that Congress enacted.



    The FTMM is arbitrary, irra=onal, and capricious because the Federal Defendants failed to reasonably

explain why other measures are insuﬃcient to tackle the rapidly declining COVID-19 infec=on and death

rates.



    Finally, the FTMM raise cons=tu=onal ques=ons including 1st amendment viola=ons of freedom of

religious exercise, and freedom of speech, among others. If Sec=on 361 of the Public Health Service Act

confers such broad authority upon Defendant CDC to adopt these policies, the statute would violate the

nondelega=on doctrine because it contains no intelligible principle guiding CDC’s exercise of its

authority. The FTMM is also uncons=tu=onal because they eﬀectuate a taking of private property

(transporta=on services paid for) without just compensa=on and delegate enforcement and exemp=on

decisionmaking to nonfederal en==es.



In Illinois, Governor Pritzker and the Illinois Department of Public Health forced businesses to deny

service to customers who did not have a mask on with a threat of a ﬁne. The IDPH emergency rules

were only repealed when members of the IL Legislature who were also members of the Joint Commifee

on Administra=ve Rules (JCAR) indicated they would not have enough votes to renew the IDPH

emergency rules in May 2021. This followed aler a Circuit Court in Cook County acknowledged that the
     Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 3 of 136 PageID #:3



IDPH mask mandate was viola=ng the 1st amendment freedom of religious exercise in MAHWIKIZI Vs.

IDPH (Case No. 2021CH01272).



Following Governor Pritzker repeal of the IDPH mask mandate; the Pritzker Administra=on s=ll enforced

the CDC FTMM that covers mask mandates in transporta=on including Ridershare Services. Essen=ally;

IDPH mask mandate was repealed following an acknowledgment of a Circuit Court Judge that the IDPH

mask mandate violated Rideshare Drivers’ freedom of religious exercise; however The State of IL would

con=nue to enforce the CDC’s FTMM that s=ll violates Rideshare Drivers’ freedom of religions exercise.



It is under the guise of this redundancy and con=nued Cons=tu=onal viola=ons that MAHWIKIZI brings a

Federal case against the Federal Defendants in addi=on to State claims against Governor Pritzker and the

Illinois Department of Public Health. Transporta=on businesses are no longer under a mask mandate by

the State under threat of a ﬁnes; however these same Transporta=on businesses are under a Federal

Mask Mandate under threat of a ﬁne or possible imprisonment.



It is therefore appropriate for a Federal Court to address the discrepancies, and con=nued U.S.

Cons=tu=on viola=ons that are s=ll imposed on Transporta=on businesses by the Federal Government in

light of the CDC’s confusing announcement that unvaccinated people are free to do what they want, but

unvaccinated people are s=ll held under the restric=ve ac=vity bans including mask wearing. The CDC is

eﬀec=vely saying that Vaccine induced an=bodies is superior to natural immunity induced an=bodies.

The transla=on is that communi=es who have been more welcoming to take the vaccine are superior to

communi=es who have viewed the vaccine with less candor, and who have preferred to go through the

natural immunity path. If we peel the onion further; We will ﬁnd communi=es who have had crimes

commifed against them by the CDC in the past will be of a par=cular race. CDC is therefore saying that

these communi=es who do not have any trust in the CDC will be punished for not trus=ng the CDC and

will remain under heavy restric=ons.
     Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 4 of 136 PageID #:4



This has birthed another push by Governor Pritzker to induce Illinois businesses to require proof of

vaccina=ons or VAX Passports of their customers or refuse service. The poli=cal climate has forced

Governor Pritzker to distance himself from his earlier calls for vaccine passports due to a new moniker

quickly becoming more popular for him as “Illinois’ Segrega=onist in Chief”.



Businesses that had followed Governor Pritzker’s inducement to ins=tute segrega=onist policies         of

checking proof of vaccina=on before entry including the Illinois Union League Club, Speedway Gas

Sa=ons, 7-Eleven, The Cubs baseball organiza=on, and more.



However Governor Pritzker’s con=nued enforcement of CDC’s FTMM order s=ll requires even vaccinated

people to wear masks in transporta=on seongs such as ﬂights, airports, trains, trainsta=ons, and

rideshare rides. It requires Rideshare drivers, ﬂight afendants, and train conductors to refuse service to

people in need even if they are 3 years old and cannot keep a mask on.



In Rideshare rides, the windows are open, and the ride has the full eﬀect of being outdoors walking on

the street. Yet; in Illinois, The mask up mandate con=nues for Rideshare rides. Drivers are forced to

refuse service to those who do not mask regardless of the reason. the CDC FTMM promulgated in Illinois

by Governor Pritzker in his latest emergency order 2021-14 (Exhibit 2) and therealer enforced by the

Illinois Department of Public Health violate MAHWIKIZI’s 1st amendment right to freedom of speech and

freedom of religious exercise. It also violates riders’ 9th amendment that says that “The enumera=on in

the Cons=tu=on, of certain rights, shall not be construed to deny or disparage others retained by the

people”.



MAHWIKIZI maintains and reasserts the United States Cons=tu=on cralers wisdom in enac=ng the 9th

Amendment. Rideshare Riders have a 9th Amendment right to choose whether they want to breathe

freely or wear a mask during their Rideshare Rides. In fact, a parent has a 9th Amendment right to

decide if their 4 year old should wear a mask in 90 degree weather or not. The CDC deprives American

residents of this 9th Amendment right. It is doubrul that the CDC can competently convince this court
      Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 5 of 136 PageID #:5



that the 9th Amendment right does not apply to American residents who they allow to not wear a mask

indoor and outdoor but require they wear a mask in a Rideshare ride with windows open whether they

have immunity from Covid-19 through natural Immunity (God’s gil to mankind”, or through ar=ﬁcially

induced Immunity via one of the myriad of Vaccines available on the market. In Fact, The CDC has

already published on their website (Exhibit 3) that Vaccine Immunity and Natural Immunity are all equal

and both are considered by the CDC to be called “Ac=ve Immunity”. However, their policies go against

what the CDC has advocated for decades.



                                                 II. PARTIES



    Plain=ﬀ MAHWIKIZI resides in Illinois’ Cook County.



    Defendant Centers for Disease Control & Preven=on is an agency of HHS. It is headquartered at 1600

Clilon Rd., Atlanta, GA 30329. It has oﬃces in Illinois



    Defendant Department of Health & Human Services is a department of the Execu=ve Branch. It is

headquartered at 200 Independence Avenue, SW, Washington, DC 20201. CDC is a department of HHS.



    Defendant Jay Robert Pritzker is Governor of Illinois with oﬃces in Springﬁeld, IL & Chicago IL.



    Defendant Illinois Department of Public Health is a department of the Illinois Execu=ve Branch. It has

oﬃces in Chicago IL, and Springﬁeld IL
     Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 6 of 136 PageID #:6



                            III. BASIS FOR JURISDICTION, VENUE, & STANDING



    This Court has jurisdic=on over this case under 28 U.S.C. § 1331: “The district courts shall have

original jurisdic=on of all civil ac=ons arising under the Cons=tu=on, laws, or trea=es of the United

States.” MAHWIKIZI’s claims arise under federal law, speciﬁcally the APA (5 U.S.C. § 702 et. seq.), as well

as the U.S. Cons=tu=on and the Code of Federal Regula=ons. MAHWIKIZI also includes a state claim

against Governor Pritzker and Illinois Department of Public Health since they are directly related to

federal enforcement of the FTMM.



    This Court has the authority to grant declaratory relief and to vacate the FTMM under the

Declaratory Judgment Act, the APA, and this Court’s inherent equitable powers. 28 U.S.C. §§ 2201, 2202;

5 U.S.C. §§ 702, 706.



    Venue is proper in this judicial district because a substan=al part of the events giving rise to this

lawsuit occurred in Chicago, Illinois & Cook County, IL. “A civil ac=on may be brought in … a judicial

district in which a substan=al part of the events or omissions giving rise to the claim occurred …” 28

U.S.C. § 1391(b)(2). Also “A civil ac=on in which a defendant is … an agency of the United States … may,

except as otherwise provided by law, be brought in any judicial district in which (A) a defendant in the

ac=on resides, (B) a substan=al part of the events or omissions giving rise to the claim occurred …” 28

U.S.C. § 1391(e)(1).



    MAHWIKIZI has standing to sue the defendants because the FTMM restricts his freedom of speech &

freedom to prac=ce his religion, and cons=tute an illegal taking of his property (transporta=on services

purchased). A court order declaring uncons=tu=onal and seong aside the FTMM would redress

MAHWIKIZI’s injuries because MAHWIKIZI’s 1st amendment rights guaranteed by the United States

Cons=tu=on would be restored. As of now, MAHWIKIZI is required to refuse service to those in need who

happen to not have a mask on because of the FTMM, depriving MAHWIKIZI of 1st amendment

cons=tu=onal rights.
 Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 7 of 136 PageID #:7




                                     IV. STATEMENT OF FACTS



1.   With eﬀec=ve Date of February 1, 2021, and signed on January 29th, 2021 by Mar=n Cetron of

     the CDC; the FTMM Order orders Rideshare Drivers to require riders wear a mask or refuse

     service with total discrimina=on unless the rider is 2 years old or younger.



2.   MAHWIKIZI is a ci=zen and lawful resident of Cook County, Illinois.



3.   MAHWIKIZI provides Transporta=on Services



4.   MAHWIKIZI prac=ces the religion of Chris=anity observing the doctrine of the Catholic Church



5.   MAHWIKIZI has observed many of the sacraments required of his religion; including Bap=sm,

     Communion(Eucharist), Conﬁrma=on, Reconcilia=on, and Marriage.



6.   MAHWIKIZI in prac=cing his religion; observes the teachings of Jesus Christ of Nazareth,

     especially the “Good Samaritan Principle”.



7.   For those who may not be familiar with Jesus Christ’s teachings, the Parable of the Good

     Samaritan can be found in Luke 10:25-37:

        a.   25 On one occasion an expert in the law stood up to test Jesus. “Teacher,” he asked,

             “what must I do to inherit eternal life?”

        b.   26 “What is wrifen in the Law?” he replied. “How do you read it?

        c.   27 He answered, “‘Love the Lord your God with all your heart and with all your soul and

             with all your strength and with all your mind’[a]; and, ‘Love your neighbor as

             yourself.’[b]”

        d.   28 “You have answered correctly,” Jesus replied. “Do this and you will live.”
 Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 8 of 136 PageID #:8



        e.   But he wanted to jus=fy himself, so he asked Jesus, “And who is my neighbor?”

        f.   30 In reply Jesus said: “A man was going down from Jerusalem to Jericho, when he was

             afacked by robbers. They stripped him of his clothes, beat him and went away, leaving

             him half dead.

        g.   31 A priest happened to be going down the same road, and when he saw the man, he

             passed by on the other side.

        h.   32 So too, a Levite, when he came to the place and saw him, passed by on the other

             side.

        i.   33 But a Samaritan, as he traveled, came where the man was; and when he saw him, he

             took pity on him.

        j.   34 He went to him and bandaged his wounds, pouring on oil and wine. Then he put the

             man on his own donkey, brought him to an inn and took care of him.

        k.   35 The next day he took out two denarii[c] and gave them to the innkeeper. ‘Look aler

             him,’ he said, ‘and when I return, I will reimburse you for any extra expense you may

             have.’

        l.   36 “Which of these three do you think was a neighbor to the man who fell into the

             hands of robbers?”

        m. 37 The expert in the law replied, “The one who had mercy on him.” Jesus told him, “Go

             and do likewise.”



8.   The Jan 29th, 2021 CDC FTMM Orders, inter alia, limits MAHWIKIZI’s cons=tu=onally protected

     freedoms to prac=ce his religion (1st Amendment of the U.S. Cons=tu=on), and his freedom of

     speech (1st Amendment of the U.S. Cons=tu=on) Where MAHWIKIZI is refused his

     Cons=tu=onal free agency to accept or deny service to clients. CDC FTMM requires him to

     refuse service to those in need without the opportunity to accept the same service to those in

     need. The acceptance of service is a form of free speech. The rider’s request for transporta=on

     services is accepted by MAHWIKIZI or refused by MAHWIKIZI. An order requiring MAHWIKIZI

     refuse service and prevents an opportunity for MAHWIKIZI to accept the same service request
 Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 9 of 136 PageID #:9



     denies him of speech. Therefore CDC’s FTMM denied MAHWIKIZI of his 1st amendment to free

     speech in that he is no longer allowed to accept a request for transporta=on services to

     someone who may not have a mask on.



9.   MAHWIKIZI’s right to prac=ce of his religion as it pertains to the “Good Samaritan Principle” is

     violated by the CDC’s FTMM which force him to act contrary to the teachings of Jesus Christ.



10. The CDC FTMM rules forbids anyone from being a good Samaritan and forces MAHWIKIZI to

     leave a mother with her children on the side of the road because one of her children does not

     have a mask on or cannot keep one on.



11. The CDC FTMM rules require for MAHWIKIZI to leave a person who is physically hurt and looking

     to go get his/her wound looked at on the side of the road if they happen to not have a mask on.



12. THE CDC FTMM Rules would forbid the Good Samaritan from tending the the injured man

     because he was without clothes like they forbid MAHWIKIZI from taking on a client who does

     not have a mask on regardless of the reasons why they do not have a mask on.



13. On or about March 5th, 2021; MAHWIKIZI was faced with a situa=on where he was required by

     the FTMM to refuse service to a mother whose children were not wearing masks and were

     above the age of 2. This would have resulted in the mother and children being lel on the side

     of the road in the middle of Chicago’s winter in a dangerous neighborhood.



14. On or account March 19th, 2021 - MAHWIKIZI ﬁled a cons=tu=onal claim in Cook County Circuit

     Court against IDPH (Case No. 2021CH01272) claiming a viola=on of his Cons=tu=onal 1st

     Amendment rights.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 10 of 136 PageID #:10



15. On April 30th, 2021 - Oral arguments took place in MAHWIKIZI Vs. IDPH where MAHWIKIZI

    Successfully argued that IDPH’s mask mandate forcing businesses to deny service to those in

    need was a viola=on of MAHWIKIZI’s 1st Amendment Cons=tu=onal rights. (Exhibit 4)



16. On May 14, 2021; Judge Eve Reilly of the Cook County Circuit Court, in MAHWIKIZI Vs. IDPH

    recognized in wri=ng that MAHWIKIZI had an ascertainable right of Freedom to Prac=ce Religion

    that had been violated by the now repealed IDPH Mask Mandate for Illinois businesses.



17. On or about May 17, 2021; The CDC announced that Vaccinated people would no longer need to

    wear a mask in indoor or outdoor seongs.



18. On or about May 26th, 2021; MAHWIKIZI picked up a masked rider who happened to be a minor

    (16-17 years old), who will be referred as Mr. K, and who had a des=na=on of a mall in Lansing

    IL.   MAHWIKIZI’s vehicle was stopped by an unmarked police car.             As documented in

    MAHWIKIZI’s lefer to the Police department chief of the police oﬃcers who stopped

    MAHWIKIZI’s Vehicle (Exhibit 5); The police oﬃcers afested that they stopped MAHWIKIZI’s

    vehicle on the sole basis of the type of mask the rider, Mr. K, was wearing. The Police oﬃcers

    used this pretext to stop MAHWIKIZI’s vehicle. Addi=onally, as indicated in the lefer, The police

    oﬃcers entered MAHWIKIZI’s car on the rear passenger side to search Mr. K for weapons. The

    mask worn by Mr. K was the probable cause used by the Police oﬃcers to stop MAHWIKIZI’s car,

    and enter MAHWIKIZI’s car to manually feel around Mr. K’s waist. Mr. K is a minor. The police

    oﬃcers did not ask for permission to open MAHWIKIZI’s car and conduct a search of Mr. K. The

    police oﬃcers did not ask Mr. K to step outside the car. The police oﬃcers trauma=zed a minor

    going to the mall while saying the type of mask Mr. K wore looked like he was going to rob

    MAHWIKIZI or a store at the mall. Mr. told the oﬃcers that he was wearing the same mask that

    his school allowed. Many cons=tu=onal rights were broken including both Mr. K’s & MAHWIKIZI

    cons=tu=onal amendment rights against unlawful searches. As indicated in MAHWIKIZI’s lefer

    to the Police Department Chief of the police oﬃcers; MAHWIKIZI understands that the use of
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 11 of 136 PageID #:11



    Masks as a probable cause was induced by the CDC FTMM order which Governor Pritzker and

    IDPH enforced in ILLINOIS. MAHWIKIZI asked the Police Department Chief in his lefer to have a

    conversa=on with their oﬃcers about FTMM and what is allowed and not allowed in the ﬁeld.



19. On May 27th, 2021, MAHWIKIZI ﬁled a Freedom of Informa=on Act Request (Case Number

    21-01357-FOIA) also found in (Exhibit 6); with the CDC seeking any informa=on that the CDC has

    that supports:

       a. “Please provide any men=on, publica=on, study, email, text, declara=on by the

            CDC that shows that for Covid19; Ac=ve immunity from natural an=bodies by

            direct infec=on is inferior to Vaccine induced an=bodies from Pﬁzer, Moderna,

            JNJ, other Emergency Use approved vaccines. Please provide any study that

            shows that people with natural immunity have to keep wearing masks versus

            people with vaccine induced an=bodies.”



20. To date, the CDC has failed to answer to MAHWIKIZI’s FOIA request.



21. This was not the ﬁrst =me we see businesses and business owners being forced by

    Execu=ve, and legisla=ve branches to refuse service to customers. The worst example

    was the early 1900s Jim Crow Laws that ﬁned businesses if they let Black customers eat

    at their restaurants; rent from their rental proper=es; or even drink from a “white Only”

    water fountain. Health was also used to convince the white popula=on that their black

    neighbors were dangerous to them.



22. History revisionists try to make that situa=on into a purely white supremacist problem

    and “all white people are racist” narra=ve. However; at ﬁrst, the Business owners who
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 12 of 136 PageID #:12



   refused service to Black customers were doing it according to local laws and rules

   propagated by Execu=ve branch agencies and Legisla=ve branch statutes. Some of these

   ac=ons were made under the guise of “public health” following the 1918 Flu Pandemic.

   Similar to IL businesses forced by IDPH mask mandate to refuse service to those who

   don’t have masks on. Hate is taught, and condi=oned on others by those in power.



23. Historian C. Van Woodward pointed out in a 1946 ar=cle (EXHIBIT 7) that Black

   Americans and White Americans mixed rela=vely freely un=l the 1880s, when State

   Government and Legislatures passed the 1st laws requiring Railroad providers separate

   regular train cars from “Negro” or “Colored Passengers’.



24. These laws led to Plessy V. Ferguson in 1896 where Judge John H. Ferguson proclaimed

   that “Separate But Equal” implies merely a legal dis=nc=on between White Americans

   and Black Americans and was not Uncons=tu=onal. A Judicial error that would become

   a predicate behind untold deaths, persecu=ons, and massacres.



25. The Plessy decision was relied upon in advoca=ng and sponsoring segrega=on; All Jim

   Crow laws were built on Plessy. All Jim Crow rules & laws were built on a Judicial branch

   ac=on to validate discrimina=on and segrega=on of American residents. A stain on this

   Country’s history.    A collec=ve trauma that we s=ll feel to this day despite Judicial

   advancements such as Supreme Court appointments like Thurgood Marshall, the last

   century’s civil rights giant. Jim Crow was a Judicial mistake and error that the Judicial

   branch is s=ll trying to rec=fy to this date.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 13 of 136 PageID #:13



26. CDC’s FTMM does just that once again, forgeong the history of this country. The rules

   require Transporta=on Business owners, and their employees, to refuse service to

   customers in the name of public health. The last =me this was ins=tuted was during the

   Jim Crow Laws.



27. That CDC requires transporta=on businesses to be safe and maintain a clean

   environment is not what is at issue. What is at issue is that CDC requires refusal of

   service, also known as discrimina=on, against their customers without solid scien=ﬁc

   founda=on.    The Opposite is being proven by ins=tu=ons like the Cleveland Clinic

   (Exhibit 8) while the CDC s=ll has not answered to MAHWIKIZI’s FOIA request to show

   that Vaccine Induced Immunity is superior to Natural Induced Immunity.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 14 of 136 PageID #:14



28. That CDC s=ll has not answered MAHWIKIZI’s Freedom of Informa=on Act request to

   show how natural immunity is inferior to Vaccine induced immunity shows a lack of

   scien=ﬁc founda=on behind CDC’s FTMM order that is inducing the viola=on of people’s

   cons=tu=onal rights in that it asks vaccinated people to s=ll wear a mask in

   transporta=on seongs. Vaccinated people have vaccine induced immunity. CDC also

   asks those with natural immunity through natural infec=on to also s=ll wear a mask in

   transporta=on sectors.      The wearing of a mask is no longer rooted in scien=ﬁc

   founda=on. Forcing the abandonment of the United States Cons=tu=on; even in a

   pandemic, is not grounds that the United Supreme Court will abide by.             The CDC’s

   FTMM, and vaccine segrega=on tendencies are inducing a renewed Segrega=on of

   America under their authority.       As the U.S. Supreme Court Emergency opinion in

   Catholic Diocese of Brooklyn NY Vs. Cuomo said: “Even in a pandemic, the Cons=tu=on

   cannot be put away and forgofen.”



29. To establish a clearly ascertainable right in need of protec=on, a plain=ﬀ must raise a

   fair ques=on that She/He has a substan=ve interest recognized by statute or common

   law. A well-pleaded complaint for injunc=ve relief must contain on its face a clear right

   to relief and allege facts which establish the right to such relief in a posi=ve, certain and

   precise manner.



30. Here, MAHWIKIZI alleges an ascertainable right in his free exercise of religion.

   MAHWIKIZI alleges that his religion mandates that he helps those in need, and that this

   belief extends to individuals who request rideshare services whether they are masked or
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 15 of 136 PageID #:15



   not. MAHWIKIZI has an ascertainable right to free exercise of his religion in addi=on to

   an ascertainable right to freedom of speech in deciding what rides to accept or deny.



31. We have clear U.S. Supreme Court decisions that show where the current U.S. Supreme

   Court may stand in MAHWIKIZI’s complaint.



32. In Braunfeld Vs. Brown where Braunfeld complained against the state of Pennsylvania

   making a law forbidding the sale of retail products on Sundays because the suspect class

   impacted was the orthodox Jewish community that closed their businesses on Saturday

   to observe the Sabbath.



33. The U.S. Supreme Court decision in Braunfeld; the Court held that “Where the purpose

   or eﬀect of a law is to impede the observance of one or all religions or is to discriminate

   invidiously between religions, that law is cons=tu=onally invalid even though the burden

   may be characterized as being only indirect.



34. Jus=ce Brennan agreed that the State cannot put an individual to a choice between his

   business and his religion.   This became the basis 2 years later in Jus=ce Brennan’s

   majority opinion in Sherbet Vs. Verner - Striking a law down that prohibited a worker

   from collec=ng unemployment because said worker did not work Saturdays due to their

   religion.



35. Here too, the Federal Defendants are asking MAHWIKIZI to choose between his work

   and his religion.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 16 of 136 PageID #:16




36. The suspect class in the FTMM is Chris=an employees or business owners. They are

   forced to choose between Jesus Christ’s teachings in the Good Samaritan Parable and

   their work. It is as if in Braunfeld V. Brown; the State of Pennsylvania made a law

   instead to require all businesses to be open on Saturdays. The clear suspect class would

   be the Orthodox Jewish community and other religions that observe the Sabbath. In

   CDC’s FTMM, the suspect class are Chris=ans that observe Jesus Christ’s teachings in the

   Good Samaritan Principle.



37. With increasing studies showing that natural immunity is prevalent in addi=on to the

   availability of vaccines for the most vulnerable popula=ons against Covid-19, in addi=on

   to successful therapeu=cs that have lowered serious illness and death; the CDC FTMM is

   arbitrary, irra=onal, and obsolete.



38. Under Smith (Employment Division V. Smith) - Government no longer had to show that

   it was ac=ng in furtherance of a “compelling public interest” if burden was an

   unintended result of laws that are generally applicable unless:

     1.   The laws intended to prohibit the free exercise of religion,

     2.   The laws violated other 1st amendment constitutional rights



39. MAHWIKIZI has shown that the CDC FTMM violates MAHWIKIZI’s free exercise of

   religion and MAHWIKIZI’s freedom of speech in their mandate to refuse service to all

   riders who may not be wearing a mask during rideshare services.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 17 of 136 PageID #:17




40. Federal Defendants will argue that rather than being held under the Strict Scru=ny Test;

    they should be held on the ra=onal basis Test. MAHWIKIZI argues against such a no=on;

    and even if the Court allowed the ra=onal basis test; MAHWIKIZI will submit a request

    for documents at the eviden=ary stage that will show that the CDC’s FTMM is irra=onal

    and obsolete.



41. MAHWIKIZI con=nues to suﬀer irreparable harm from the CDC’s FTMM.



42. In a recent U.S. Supreme Court opinion in Roman Catholic Diocese of Brooklyn NY Vs.

    Governor Andrew Cuomo of NY; The Supreme Court again assumed a broad

    understanding of religious freedom in the Cons=tu=on ci=ng a precedent that holds that

    the loss of 1st Amendment freedoms, for even minimal period of =me, unques=onably

    cons=tutes irreparable injury - Elrod V. Burns.



43. The Supreme Court in the same case held that gran=ng injunc=ve relief would not harm

    the public. “Even in a pandemic, the Cons=tu=on cannot be put away and forgofen.”



44. CDC FTMM is not a neutral law of general applica=on that results only in incidental

    eﬀect on 1st amendment rights.         For Rideshare Drivers like MAHWIKIZI who are

    observing Chris=ans, the eﬀect of the FTMM is con=nuous daily for every ride request

    they have to refuse without the legal opportunity to accept. This occurs over 15 =mes a

    day for MAHWIKIZI, over 80% of MAHWIKIZI’s clients.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 18 of 136 PageID #:18



45. In fact, as in Nashville, Chafanooga & St. Louis Railway Vs. Waters [294 U.S. 405(1935)] -

    The U.S. Supreme Court even reversed a decision of the Tennessee Supreme Court on

    the grounds that a person should have the chance to prove that a law that once may

    have been ra=onal had become obsolete and irra=onal.



46. MAHWIKIZI has established two ﬁrst amendment ascertainable rights in need of

    protec=on



47. MAHWIKIZI has established a likelihood of success on merits whereby the Court will

    hold Federal Defendants to the high threshold of Strict Scru=ny Test



48. MAHWIKIZI has established an irreparable harm in the absence of induc=ve relief highly

    relying on the U.S. Supreme Court recent opinion in Catholic Brooklyn V. Cuomo



49. MAHWIKIZI has shown a lack of adequate remedy at law



50. MAHWIKIZI has shown that he beneﬁts of an injunc=on outweigh possible injury to the

    State.



51. An actual controversy exists between the par=es in regard to the CDC FTMM when it

    comes to the prac=ce of religion, and freedom of speech.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 19 of 136 PageID #:19



52. An actual controversy exists between the par=es in regard to the authority of Pritzker, and

    IDPH to issue and enforce face coverings/masks to all Illinois residents using

    transporta=on.



53. An immediate and deﬁni=ve determina=on is necessary to clarify the rights and interests of

    the par=es.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 20 of 136 PageID #:20




                                        COUNT I
                       REQUEST FOR DECLARATORY JUDGEMENT



   THEREFORE, Plain=ﬀ, JUSTIN MAHWIKIZI, herein request that this court enter an
   Order:


                  A. MAHWIKIZI restates paragraphs 1-54 as if more fully stated
                     herein.

                  B. Entering an order ﬁnding CDC’s FTMM Order were declared
                     January 29th, 2021;

                  C. Entering an order ﬁnding the FTMM Order ac=oned by CDC
                     violate the 1st Amendment cons=tu=onal rights of MAHWIKIZI
                     when it comes to his prac=ce of his Religion, and Freedom of
                     Speech;

                  D. Entering an order ﬁnding the FTMM Order ac=oned by CDC
                     violate the public’s 9h Amendment when it comes to requiring
                     vaccinated people or those with natural immunity to con=nue
                     to mask up in transporta=on seongs.;

                   E. That the Court grant such other and further relief as is just and
                      proper.

                                           5
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 21 of 136 PageID #:21




                                      COUNT II
                              REQUEST FOR INJUNCTION



    A. MAHWIKIZI restates paragraphs 1-54 as if more fully stated herein.

    B. MAHWIKIZI is being irreparably harmed each and every day beyond August
       07, 2020 in which he con=nues to be subjected to CDC’s ultra vires FTMM
       order through its’ implementa=on by Governor Pritzker, and IDPH speciﬁcally
       to force MAHWIKIZI’s clients to wear a mask or ask them to leave his vehicle
       or simply leave them by the side of the road.

    C. MAHWIKIZI has no adequate remedy at law to prohibit CDC, and
       downstream State Agencies from enforcing the FTMM order against him
       absent an injunc=on from this Court ordering the same.

    D. There is a reasonably likelihood of success on the merits in that CDC’s FTMM
       order violate MAHWIKIZI’s Cons=tu=onal 1st Amendment rights that forces
       MAHWIKIZI to require MAHWIKIZI’s clients to wear a mask or ask them to
       leave his vehicle or simply leave them by the side of the road. Both Prac=ce
       of Religion, and Freedom of Speech.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 22 of 136 PageID #:22



     WHEREFORE, Plain=ﬀ, JUSTIN MAHWIKIZI, prays that this Court enters a
     declaratory and injunc=ve judgement in his favor and ﬁnds and declares that:


                B. Finding MAHWIKIZI is irreparably harmed each day he is
                   subjected to the CDC FTMM rela=ve to this cause, speciﬁcally
                   requiring MAHWIKIZI to require MAHWIKIZI’s clients to wear a
                   mask or ask them to leave his vehicle or simply leave them by
                   the side of the road.

               C. Finding MAHWIKIZI has no adequate remedy at law to protect his
                  rights against any uncons=tu=onal orders of HHS, CDC, IDPH
                  and the Pritzker Administra=on beyond injunc=ve relief.

               D. Finding MAHWIKIZI has a likelihood of success on the merits, and
                  has clearly stated ascertainable rights in need of relief

                E. Enter an injunc=on permanently enjoining HHS, CDC, or anyone
                   the under the Agencies’ authori=es, from enforcing the CDC FTMM
                   against MAHWIKIZI from this date forward.

                F. For such other relief as this Court deems just and proper.



                                                         Respectfully
                                                         submitted,




                                             !
                                                     /S/JUSTIN MAHWIKIZI
                                                     JUSTIN MAHWIKIZI
                                                      18430 Francisco Avenue
                                                       Homewood IL, 60430
    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 23 of 136 PageID #:23




                                           CERTIFICATION



Under F.R.Civ.P. 11, by signing below, I cer=fy to the best of my knowledge, informa=on, and
belief that this complaint: (1) is not being presented for an improper purpose, such as to harass,
cause unnecessary delay, or needlessly increase the cost of li=ga=on; (2) is supported by
exis=ng law or by a nonfrivolous argument for extending, modifying, or reversing exis=ng law;
(3) the factual conten=ons have eviden=ary support or, if speciﬁcally so iden=ﬁed, will likely
have eviden=ary support aler a reasonable opportunity for further inves=ga=on or discovery;
and (4) the complaint otherwise complies with the requirements of Rule 11.

Respecrully submifed this 28th day of June 2021.




       Date: 6/28/2021



                                              /S/JUSTINMAHWIKIZI
                                              JUSTIN MAHWIKIZI
    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 24 of 136 PageID #:24




                                         CERTIFICATE OF SERVICE
    In addi=on to formal service of process, due to the emergency nature of this ac=on, JUSTIN
MAHWIKIZI hereby cer=ﬁes that on June 28, 2021, MAHWIKIZI e-mailed this Complaint and all
accompanying exhibits and documents to the Defendants’ counsels:

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                                                                                   /S/JUSTIN MAHWIKIZI
                                                                                      JUSTIN MAHWIKIZI
  Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 25 of 136 PageID #:25




                       EXHIBITS
1. CDC FTMM ORDER

2. JUNE 25 EXECUTIVE ORDER BY GOVERNOR PRITZKER

3. CDC’S WEBSITE POST ON ACTIVE IMMUNITY
   (VACCINE/NATURAL)

4. MAHWIKIZI V. IDPH 4/30/21 ORAL ARGUMENT
   TRANSCRIPT

5. MAHWIKIZI LETTER TO POLICE STATION CHIEF AFTER
   MASK RELATED TRAFFIC STOP

6. MAHWIKIZI FOIA REQUEST TO THE CDC

7. C. VAN WOODWARD ARTICLE ON PRE-JIM CRAW LIFE
   IN THE U.S.A.

8. CLEVELAND CLINIC STUDY ON NATURAL IMMUNITY
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 26 of 136 PageID #:26




                 EXHIBIT (1)
    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 27 of 136 PageID #:27




                   CENTERS FOR DISEASE CONTROL AND PREVENTION
                    DEPARTMENT OF HEALTH AND HUMAN SERVICES

                           ORDER UNDER SECTION 361
                OF THE PUBLIC HEALTH SERVICE ACT (42 U.S.C. 264)
            AND 42 CODE OF FEDERAL REGULATIONS 70.2, 71.31(b), 71.32(b)

                  REQUIREMENT FOR PERSONS TO WEAR MASKS
              WHILE ON CONVEYANCES AND AT TRANSPORTATION HUBS


SUMMARY:
Notice and Order; and subject to the limitations under “Applicability,” pursuant to 42 U.S.C.
264(a) and 42 CFR 70.2, 71.31(b), and 71.32(b):
(1) Persons 1 must wear 2 masks over the mouth and nose when traveling on conveyances into and
within the United States. Persons must also wear masks at transportation hubs as defined in this
Order.
(2) A conveyance operator transporting persons into and within the United States 3 must require
all persons onboard to wear masks for the duration of travel.
(3) A conveyance operators operating a conveyance arriving at or departing from a U.S. port of
entry must require all persons on board to wear masks for the duration of travel as a condition of
controlled free pratique. 4
(4) Conveyance operators must use best efforts to ensure that any person on the conveyance
wears a mask when boarding, disembarking, and for the duration of travel. Best efforts include:
    •    boarding only those persons who wear masks;
    •    instructing persons that Federal law requires wearing a mask on the conveyance and fail-
         ure to comply constitutes a violation of Federal law;
    •    monitoring persons onboard the conveyance for anyone who is not wearing a mask and
         seeking compliance from such persons;
    •    at the earliest opportunity, disembarking any person who refuses to comply; and
    •    providing persons with prominent and adequate notice to facilitate awareness and compli-
         ance of the requirement of this Order to wear a mask; best practices may include, if feasi-
         ble, advance notifications on digital platforms, such as on apps, websites, or email;

1
  As used in this Order, “persons” includes travelers (i.e., passengers and crew), conveyance operators, and any
workers or service providers in the transportation hub.
2
  To “wear a mask” means to wear a mask over the nose and mouth.
3
  This includes international, interstate, or intrastate waterways, subject to the jurisdiction of the United States.
4
  As a condition of this controlled free pratique to commence or continue operations in the United States, convey-
ance operators must additionally require all persons to wear masks on board conveyances departing from the United
States and for the duration of their travel until the conveyance arrives at the foreign destination if at any time any of
the persons on the conveyance (passengers, crew, or conveyance operators) will return to the United States while
this Order remains in effect. This precaution must be followed regardless of scheduled itinerary.



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    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 28 of 136 PageID #:28




        posted signage in multiple languages with illustrations; printing the requirement on
        transit tickets; or other methods as appropriate.

(5) Operators of transportation hubs must use best efforts to ensure that any person entering or on
the premises of the transportation hub wears a mask. Best efforts include:
    •   allowing entry only to those persons who wear masks;
    •   instructing persons that Federal law requires wearing a mask in the transportation hub
        and failure to comply constitutes a violation of Federal law;
    •   monitoring persons on the premises of the transportation hub for anyone who is not wear-
        ing a mask and seeking compliance from such persons;
    •   at the earliest opportunity, removing any person who refuses to comply from the premises
        of the transportation hub; and
    •   providing persons with prominent and adequate notice to facilitate awareness and compli-
        ance with the requirement of this Order to wear a mask; best practices may include, if
        feasible, advance notifications on digital platforms, such as on apps, websites, or email;
        posted signage in multiple languages with illustrations; printing the requirement on
        transit tickets; or other methods as appropriate.


DEFINITIONS:
Controlled free pratique shall have the same definition as under 42 CFR 71.1, meaning “permis-
sion for a carrier to enter a U.S. port, disembark, and begin operation under certain stipulated
conditions.”
Conveyance shall have the same definition as under 42 CFR 70.1, meaning “an aircraft, train,
road vehicle, 5 vessel . . . or other means of transport, including military.” Included in the defini-
tion of “conveyance” is the term “carrier” which under 42 CFR 71.1 has the same definition as
conveyance under 42 CFR 70.1.
Conveyance operator means an individual operating a conveyance and an individual or organiza-
tion causing or authorizing the operation of a conveyance.
Mask means a material covering the nose and mouth of the wearer, excluding face shields. 6
Interstate traffic shall have the same definition as under 42 CFR 70.1, meaning


5
  This includes rideshares meaning arrangements where passengers travel in a privately owned road vehicle driven
by its owner in connection with a fee or service.
6
  A properly worn mask completely covers the nose and mouth of the wearer. A mask should be secured to the head,
including with ties or ear loops. A mask should fit snugly but comfortably against the side of the face. Masks do not
include face shields. Masks can be either manufactured or homemade and should be a solid piece of material without
slits, exhalation valves, or punctures. Medical masks and N-95 respirators fulfill the requirements of this Order.
CDC guidance for attributes of acceptable masks in the context of this Order is available at:
https://www.cdc.gov/quarantine/masks/mask-travel-guidance.html




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    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 29 of 136 PageID #:29




“(1):
        (i) The movement of any conveyance or the transportation of persons or property, includ-
        ing any portion of such movement or transportation that is entirely within a state or pos-
        session–
        (ii) From a point of origin in any state or possession to a point of destination in any other
        state or possession; or
        (iii) Between a point of origin and a point of destination in the same state or possession
        but through any other state, possession, or contiguous foreign country.
(2) Interstate traffic does not include the following:
        (i) The movement of any conveyance which is solely for the purpose of unloading per-
        sons or property transported from a foreign country or loading persons or property for
        transportation to a foreign country.
        (ii) The movement of any conveyance which is solely for the purpose of effecting its re-
        pair, reconstruction, rehabilitation, or storage.”
Intrastate traffic means the movement of any conveyance or the transportation or movement of
persons occurring solely within the boundaries of a state or territory, or on tribal land.
Possession shall have the same definition as under 42 CFR 70.1 and 71.1, meaning a “U.S.
territory.”
State shall have the same definition as under 42 CFR 70.1, meaning “any of the 50 states, plus
the District of Columbia.”
Territory shall have the same definition as “U.S. territory” under 42 CFR 70.1 and 71.1, meaning
“any territory (also known as possessions) of the United States, including American Samoa, Guam,
the [Commonwealth of the] Northern Mariana Islands, the Commonwealth of Puerto Rico, and the
U.S. Virgin Islands.”
Transportation hub means any airport, bus terminal, marina, seaport or other port, subway station,
terminal (including any fixed facility at which passengers are picked-up or discharged), train sta-
tion, U.S. port of entry, or any other location that provides transportation subject to the jurisdiction
of the United States.
Transportation hub operator means an individual operating a transportation hub and an individual
or organization causing or authorizing the operation of a transportation hub.
U.S. port shall have the same definition as under 42 CFR 71.1, meaning any “seaport, airport, or
border crossing point under the control of the United States.”


STATEMENT OF INTENT:



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    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 30 of 136 PageID #:30




This Order shall be interpreted and implemented in a manner as to achieve the following objec-
tives:
    •    Preservation of human life;
    •    Maintaining a safe and secure operating transportation system;
    •    Mitigating the further introduction, transmission, and spread of COVID-19 into the
         United States and from one state or territory into any other state or territory; and
    •    Supporting response efforts to COVID-19 at the Federal, state, local, territorial, and tribal
         levels.

APPLICABILITY:

This Order shall not apply within any state, locality, territory, or area under the jurisdiction of a
Tribe that (1) requires a person to wear a mask on conveyances; (2) requires a person to wear a
mask at transportation hubs; and (3) requires conveyances to transport only persons wearing
masks. Such requirements must provide the same level of public health protection as — or
greater protection than —the requirements listed herein.
In addition, the requirement to wear a mask shall not apply under the following circumstances:
    •    While eating, drinking, or taking medication, for brief periods;
    •    While communicating with a person who is hearing impaired when the ability to see the
         mouth is essential for communication;
    •    If, on an aircraft, wearing of oxygen masks is needed because of loss of cabin pressure or
         other event affecting aircraft ventilation;
    •    If unconscious (for reasons other than sleeping), incapacitated, unable to be awakened, or
         otherwise unable to remove the mask without assistance; 7 or
    •    When necessary to temporarily remove the mask to verify one’s identity such as during
         Transportation Security Administration screening or when asked to do so by the ticket or
         gate agent or any law enforcement official.

This Order exempts the following categories of persons: 8


7
  Persons who are experiencing difficulty breathing or shortness of breath or are feeling winded may remove the
mask temporarily until able to resume normal breathing with the mask. Persons who are vomiting should remove the
mask until vomiting ceases. Persons with acute illness may remove the mask if it interferes with necessary medical
care such as supplemental oxygen administered via an oxygen mask.
8
  Operators of conveyances or transportation hubs may impose requirements, or conditions for carriage, on persons
requesting an exemption from the requirement to wear a mask, including medical consultation by a third party, med-
ical documentation by a licensed medical provider, and/or other information as determined by the operator, as well
as require evidence that the person does not have COVID-19 such as a negative result from a SARS-CoV-2 viral test
or documentation of recovery from COVID-19. CDC definitions for SARS-CoV-2 viral test and documentation of
recovery are available in the Frequently Asked Questions at: https://www.cdc.gov/coronavirus/2019-ncov/travel-
ers/testing-international-air-travelers.html. Operators may also impose additional protective measures that improve
the ability of a person eligible for exemption to maintain social distance (separation from others by 6 feet), such as
scheduling travel at less crowded times or on less crowded conveyances, or seating or otherwise situating the indi-
vidual in a less crowded section of the conveyance or transportation hub. Operators may further require that persons
seeking exemption from the requirement to wear a mask request an accommodation in advance.


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    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 31 of 136 PageID #:31




    •   A child under the age of 2 years;
    •   A person with a disability who cannot wear a mask, or cannot safely wear a mask, be-
        cause of the disability as defined by the Americans with Disabilities Act (42 U.S.C.
        12101 et seq.). 9
    •   A person for whom wearing a mask would create a risk to workplace health, safety, or
        job duty as determined by the relevant workplace safety guidelines or federal regulations.
This Order exempts the following categories of conveyances, including persons on board such
conveyances:
   • Private conveyances operated solely for personal, non-commercial use;
   • Commercial motor vehicles or trucks as these terms are defined in 49 CFR 390.5, if the
       driver is the sole occupant of the vehicle or truck;
   • Conveyances operated or chartered by the U.S. military services provided that such con-
       veyance operators observe Department of Defense precautions to prevent the transmis-
       sion of COVID-19 that are equivalent to the precautions in this Order.

This Order applies to persons on conveyances and at transportation hubs directly operated by
U.S. state, local, territorial, or tribal government authorities, as well as the operators them-
selves. U.S. state, local, territorial, or tribal government authorities directly operating convey-
ances and transportation hubs may be subject to additional federal authorities or actions, and are
encouraged to implement additional measures enforcing the provisions of this Order regarding
persons traveling onboard conveyances and at transportation hubs operated by these government
entities.

To the extent permitted by law, and consistent with President Biden’s Executive Order of Janu-
ary 21, 2021 (Promoting COVID-19 Safety in Domestic and International Travel), 10 Federal
agencies are required to implement additional measures enforcing the provisions of this Order.

BACKGROUND:

There is currently a pandemic of respiratory disease (coronavirus disease 2019 or “COVID-
19”) caused by a novel coronavirus (SARS-COV-2). As of January 27, 2021, there have been
99,638,507 confirmed cases of COVID-19 globally, resulting in more than 2,141,000 deaths.
As of January 27, 2021, there have been over 25,000,000 cases identified in the United States
and over 415,000 deaths due to the disease. New SARS-CoV-2 variants have emerged in re-
cent weeks, including at least one with evidence of increased transmissibility. 11

The virus that causes COVID-19 spreads very easily and sustainably between people who are
in close contact with one another (within about 6 feet) mainly through respiratory droplets

9
   This is a narrow exception that includes a person with a disability who cannot wear a mask for reasons related to
the disability. CDC will issue additional guidance regarding persons who cannot wear a mask under this exemption.
https://www.cdc.gov/quarantine/masks/mask-travel-guidance.html
10
   https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/21/executive-order-promoting-covid-19-
safety-in-domestic-and-international-travel/
11
   https://www.cdc.gov/coronavirus/2019-ncov/more/science-and-research/scientific-brief-emerging-variants.html


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     Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 32 of 136 PageID #:32




produced when an infected person coughs, sneezes, or talks. These droplets can land in the
mouths, eyes, or noses of people who are nearby and possibly be inhaled into the lungs. In-
fected people without symptoms (asymptomatic) and those in whom symptoms have not yet
developed (pre-symptomatic) can also spread the virus. In general, the more closely an in-
fected person interacts with others and the longer those interactions, the higher the risk of
COVID-19 spread. COVID-19 may be transmitted by touching surfaces or objects that have
the virus on them and then touching one’s own or another person’s eyes, nose, or mouth.

Masks help prevent people who have COVID-19, including those who are pre-symptomatic or
asymptomatic, from spreading the virus to others. 12 Masks are primarily intended to reduce
the emission of virus-laden droplets, i.e., they act as source control by blocking exhaled vi-
rus. 13 This is especially relevant for asymptomatic or pre-symptomatic infected wearers who
feel well and may be unaware of their infectiousness to others, and who are estimated to ac-
count for more than 50% of transmissions. 14,15 Masks also provide personal protection to the
wearer by reducing inhalation of these droplets, i.e., they reduce wearers’ exposure through
filtration. 16 The community benefit of wearing masks for SARS-CoV-2 control is due to the
combination of these effects; individual prevention benefit increases with increasing numbers
of people using masks consistently and correctly.

Appropriately worn masks reduce the spread of COVID-19—particularly given the evidence
of pre-symptomatic and asymptomatic transmission of COVID-19. Seven studies have con-
firmed the benefit of universal masking in community level analyses: in a unified hospital sys-
tem, 17 a German city, 18 a U.S. State, 19 a panel of 15 U.S. States and Washington, D.C., 20,21 as


12
   https://www.cdc.gov/coronavirus/2019-ncov/more/masking-science-sars-cov2.html
13
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     Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 33 of 136 PageID #:33




well as both Canada 22 and the United States 23 nationally. Each analysis demonstrated that, fol-
lowing directives from organizational and political leadership for universal masking, new in-
fections fell significantly. Two of these studies 24,25 and an additional analysis of data from 200
countries that included localities within the United States 26 also demonstrated reductions in
mortality. An economic analysis using U.S. data found that, given these effects, increasing
universal masking by 15% could prevent the need for lockdowns and reduce associated losses
of up to $1 trillion or about 5% of gross domestic product. 27

Wearing a mask especially helps protect those at increased risk of severe illness from COVID-
19 28 and workers who frequently come into close contact with other people (e.g., at transpor-
tation hubs). Masks are most likely to reduce the spread of COVID-19 when they are widely
used by people in public settings. Using masks along with other preventive measures, includ-
ing social distancing, frequent handwashing, and cleaning and disinfecting frequently touched
surfaces, is one of the most effective strategies available for reducing COVID-19 transmis-
sion.

Traveling on multi-person conveyances increases a person’s risk of getting and spreading
COVID-19 by bringing persons in close contact with others, often for prolonged periods, and
exposing them to frequently touched surfaces. Air travel often requires spending time in secu-
rity lines and crowded airport terminals. Social distancing may be difficult if not impossible
on flights. People may not be able to distance themselves by the recommended 6 feet from
individuals seated nearby or those standing in or passing through the aircraft’s aisles. Travel
by bus, train, vessel, and other conveyances used for international, interstate, or intrastate
transportation pose similar challenges.

Intrastate transmission of the virus has led to—and continues to lead to—interstate and interna-
tional spread of the virus, particularly on public conveyances and in travel hubs, where passen-
gers who may themselves be traveling only within their state or territory commonly interact with
others traveling between states or territories or internationally. Some states, territories, Tribes,




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28
   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/index.html


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     Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 34 of 136 PageID #:34




and local public health authorities have imposed mask-wearing requirements within their juris-
dictional boundaries to protect public health. 29 Any state or territory without sufficient mask-
wearing requirements for transportation systems within its jurisdiction has not taken adequate
measures to prevent the spread of COVID-19 from such state or territory to any other state or
territory. That determination is based on, inter alia, the rapid and continuing transmission of the
virus across all states and territories and across most of the world. Furthermore, given how inter-
connected most transportation systems are across the nation and the world, local transmission
can grow even more quickly into interstate and international transmission when infected persons
travel on non-personal conveyances without wearing a mask and with others who are not wear-
ing masks.

Therefore, I have determined that the mask-wearing requirements in this Order are reasonably
necessary to prevent the further introduction, transmission, or spread of COVID-19 into the
United States and among the states and territories. Individuals traveling into or departing from
the United States, traveling interstate, or traveling entirely intrastate, conveyance operators
that transport such individuals, and transportation hub operators that facilitate such transporta-
tion, must comply with the mask-wearing requirements set forth in this Order.

America’s transportation systems are essential. Not only are they essential for public health,
they are also essential for America’s economy and other bedrocks of American life. Those
transportation systems carry life-saving medical supplies and medical providers into and
across the nation to our hospitals, nursing homes, and physicians’ offices. Trains, planes,
ships, and automobiles bring food and other essentials to our communities and to our homes.
Buses bring America’s children and teachers to school. Buses, trains, and subways, bring
America’s workforce to their jobs.

Requiring masks on our transportation systems will protect Americans and provide confidence
that we can once again travel safely even during this pandemic. Therefore, requiring masks
will help us control this pandemic and aid in re-opening America’s economy.

The United States and countries around the world are currently embarking on efforts to vac-
cinate their populations, starting with healthcare personnel and other essential workers at in-
creased risk of exposure to SARS-CoV-2 and people at increased risk for severe illness from
the virus. While vaccines are highly effective at preventing severe or symptomatic COVID-
19, at this time there is limited information on how much the available COVID-19 vaccines
may reduce transmission in the general population and how long protection lasts. 30 Therefore,
this mask requirement, as well as CDC recommendations to prevent spread of COVID-19, 31
additionally apply to vaccinated persons. Similarly, CDC recommends that people who have


29
   Based on internet sources, 37 states plus D.C. and Puerto Rico mandate the wearing of masks in public. Among
the jurisdictions that have imposed mask mandates, variations in requirements exist. For example, exemptions for
children range in cutoff age from 2 to 12, but masks are generally required in indoor public spaces such as restau-
rants and stores, on public transit and ride-hailing services, and outdoors when unable to maintain 6 feet of distance
from others. See https://www.aarp.org/health/healthy-living/info-2020/states-mask-mandates-coronavirus.html (ac-
cessed January 28, 2021).
30
   https://www.cdc.gov/vaccines/covid-19/info-by-product/clinical-considerations.html
31
   https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html


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       Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 35 of 136 PageID #:35




recovered from COVID-19 continue to take precautions to protect themselves and others, in-
cluding wearing masks; 32 therefore, this mask requirement also applies to people who have
recovered from COVID-19.

ACTION:

Until further notice, under 42 U.S.C. 264(a) and 42 CFR 70.2, 71.31(b), and 71.32(b), unless
excluded or exempted as set forth in this Order, a person must wear a mask while boarding,
disembarking, and traveling on any conveyance into or within the United States. A person
must also wear a mask at any transportation hub that provides transportation within the United
States.

Conveyance operators traveling into or within the United States may transport only persons
wearing masks and must use best efforts to ensure that masks are worn when embarking, dis-
embarking, and throughout the duration of travel. Operators of transportation hubs must use
best efforts to ensure that any person entering or on the premises of the transportation hub
wears a mask.

As a condition of receiving controlled free pratique under 42 CFR 71.31(b) to enter a U.S. port,
disembark passengers, and begin operations at any U.S. port of entry, conveyances arriving into
the United States must require persons to wear masks while boarding, disembarking, and for the
duration of travel. Conveyance operators must also require all persons to wear masks while
boarding and for the duration of their travel on board conveyances departing from the United
States until the conveyance arrives at the foreign destination, if at any time any of the persons
onboard (passengers, crew, or conveyance operators) will return to the United States while this
Order remains in effect. These travel conditions are necessary to mitigate the harm of further in-
troduction of COVID-19 into the United States.

Requiring a properly worn mask is a reasonable and necessary measure to prevent the introduc-
tion, transmission and spread of COVID-19 into the United States and among the states and terri-
tories under 42 U.S.C. 264(a) and 42 CFR 71.32(b). Among other benefits, masks help prevent
dispersal of an infected person’s respiratory droplets that carry the virus. That precaution helps
prevent droplets from landing in the eye, mouth, or nose or possibly being inhaled into the lungs
of an uninfected person, or from landing on a surface or object that an uninfected person may
then touch and then touch his or her own or another’s eyes, nose, or mouth. Masks also provide
some protection to the wearer by helping reduce inhalation of respiratory droplets.

This Order shall not apply within any state, locality, territory, or area under the jurisdiction of a
Tribe, where the controlling governmental authority: (1) requires a person to wear a mask on
conveyances; (2) requires a person to wear a mask at transportation hubs; and (3) requires con-
veyances to transport only persons wearing masks. Those requirements must provide the same
level of public health protection as —or greater protection than—the requirements listed herein.

In accordance with 42 U.S.C. 264(e), state, local, territorial, and tribal authorities may impose
additional requirements that provide greater public health protection and are more restrictive than

32
     https://www.cdc.gov/coronavirus/2019-ncov/hcp/duration-isolation.html


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    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 36 of 136 PageID #:36




the requirements in this Order. Consistent with other federal, state, or local legal requirements,
this Order does not preclude operators of conveyances or transportation hubs from imposing
additional requirements, or conditions for carriage, that provide greater public health protection
and are more restrictive than the requirements in this Order (e.g., requiring a negative result from
a SARS-CoV-2 viral test or documentation of recovery from COVID-19 or imposing
requirements for social distancing or other recommended protective measures).

This Order is not a rule within the meaning of the Administrative Procedure Act (“APA”) but ra-
ther is an emergency action taken under the existing authority of 42 U.S.C. 264(a) and 42 CFR
70.2, 71.31(b), 71.32(b). In the event that a court determines this Order qualifies as a rule under
the APA, notice and comment and a delay in effective date are not required because there is good
cause to dispense with prior public notice and comment and the opportunity to comment on this
Order and the delay in effective date. Considering the public health emergency caused by
COVID-19, it would be impracticable and contrary to the public’s health, and by extension the
public’s interest, to delay the issuance and effective date of this Order. Similarly, the Office of
Information and Regulatory Affairs has determined that if this Order were a rule, it would be a
major rule under the Congressional Review Act, but there would not be a delay in its effective
date as the agency has determined that there would be good cause to make the requirements
herein effective immediately under the APA.

This order is also an economically significant regulatory action under Executive Order 12866
and has therefore been reviewed by the Office of Information and Regulatory Affairs of the Of-
fice of Management and Budget. The agency is proceeding without the complete analysis re-
quired by Executive Order 12866 under the emergency provisions of 6(a)(3)(D) of that Order.

If any provision of this Order, or the application of any provision to any carriers, conveyances,
persons, or circumstances, shall be held invalid, the remainder of the provisions, or the applica-
tion of such provisions to any carriers, conveyances, persons, or circumstances other than those
to which it is held invalid, shall remain valid and in effect.

To address the COVID-19 public health threat to transportation security, this Order shall be en-
forced by the Transportation Security Administration under appropriate statutory and regulatory
authorities including the provisions of 49 U.S.C. 106, 114, 44902, 44903, and 46301; and 49
CFR part 1503, 1540.105, 1542.303, 1544.305 and 1546.105.

This Order shall be further enforced by other federal authorities and may be enforced by cooper-
ating state and local authorities through the provisions of 18 U.S.C. 3559, 3571; 42 U.S.C. 243,
268, 271; and 42 CFR 70.18 and 71.2. 33




33
   While this Order may be enforced and CDC reserves the right to enforce through criminal penalties, CDC does
not intend to rely primarily on these criminal penalties but instead strongly encourages and anticipates widespread
voluntary compliance as well as support from other federal agencies in implementing additional civil measures en-
forcing the provisions of this Order, to the extent permitted by law and consistent with President Biden’s Executive
Order of January 21, 2021 (Promoting COVID-19 Safety in Domestic and International Travel).


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    Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 37 of 136 PageID #:37




EFFECTIVE DATE:

This Order shall enter into effect on February 1, 2021, at 11:59 p.m. and will remain in effect un-
less modified or rescinded based on specific public health or other considerations, or until the
Secretary of Health and Human Services rescinds the determination under section 319 of the
Public Health Service Act (42 U.S.C. 247d) that a public health emergency exists.

In testimony whereof, the Director of the Division of Global Migration and Quarantine at the
Centers for Disease Control and Prevention, U.S. Department of Health and Human Services,
has hereunto set his hand at Atlanta, GA, this 29th day of January 2021.




Martin S. Cetron, M.D.
Director, Division of Global Migration and Quarantine
Centers for Disease Control and Prevention




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Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 38 of 136 PageID #:38




                 EXHIBIT (2)
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 39 of 136 PageID #:39
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 40 of 136 PageID #:40
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 41 of 136 PageID #:41
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 42 of 136 PageID #:42
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 43 of 136 PageID #:43
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 44 of 136 PageID #:44
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 45 of 136 PageID #:45
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 46 of 136 PageID #:46




                 EXHIBIT (3)
                                 Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 47 of 136 PageID #:47



Vaccines & Immunizations

Immunity Types
Immunity to a disease is achieved through the presence of antibodies to that disease in a person’s system. Antibodies are proteins
produced by the body to neutralize or destroy toxins or disease-carrying organisms. Antibodies are disease-speci c. For example, measles
antibody will protect a person who is exposed to measles disease, but will have no e ect if he or she is exposed to mumps.

There are two types of immunity: active and passive.



Active Immunity
Active immunity results when exposure to a disease organism triggers the immune system to produce antibodies to that disease.
Exposure to the disease organism can occur through infection with the actual disease (resulting in natural immunity), or introduction of a
killed or weakened form of the disease organism through vaccination (vaccine-induced immunity). Either way, if an immune person comes
into contact with that disease in the future, their immune system will recognize it and immediately produce the antibodies needed to ght
it.

Active immunity is long-lasting, and sometimes life-long.



Passive Immunity
Passive immunity is provided when a person is given antibodies to a disease rather than producing them through his or her own immune
system.

A newborn baby acquires passive immunity from its mother through the placenta. A person can also get passive immunity through
antibody-containing blood products such as immune globulin, which may be given when immediate protection from a speci c disease is
needed. This is the major advantage to passive immunity; protection is immediate, whereas active immunity takes time (usually several
weeks) to develop.

However, passive immunity lasts only for a few weeks or months. Only active immunity is long-lasting.


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     Epidemiol 1971; 94:179–89.
  2. Anderson RM, May RM. Vaccination and herd immunity to infectious diseases. Nature 1985; 318:323–9.
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     PA: Elsevier Inc., 2008:1573–92.
  5. John TJ, Samuel R. Herd immunity and herd e ect: new insights and de nitions. Eur J Epidemiol 2000; 16:601–6.
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  Related Pages

  How Vaccines Prevent Disease


  Vaccines and Your Child’s Immune System

  How Vaccines Strengthen a Baby’s Immune System
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 48 of 136 PageID #:48




                 EXHIBIT (4)
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 49 of 136 PageID #:49




·1· STATE OF ILLINOIS )

·2· · · · · · · · · · ) SS:

·3· COUNTY OF C O O K )

·4· · · · IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

·5· · · · · · · COUNTY DEPARTMENT - LAW DIVISION

·6· JUSTIN MAHWIKIZI,· · · · · · · · · )

·7· · · · · · · · · · · · PLAINTIFF,· ·)

·8· · · · · · · · ·-VS-· · · · · · · · ) NO. 2021 CH 01272

·9· IDPH AND DR. NGOZI EZIKE, IN HER· ·)

10· OFFICIAL CAPACITY,· · · · · · · · ·)

11· · · · · · · · · · · · DEFENDANTS.· )

12· · · · · · · · · ·REPORT OF PROCEEDINGS

13· · · · · · · · · · · CHICAGO, ILLINOIS

14· · · · · · · · · · · ·APRIL 30, 2021

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· ·   REPORTED BY:· CHERYL LYNN MOFFETT, CSR NO. 084-002218
24·   FILE NO. AF034DC
 Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 50 of 136 PageID #:50




·1· STATE OF ILLINOIS )
·2· · · · · · · · · · ) SS:
·3· COUNTY OF C O O K )
·4· · · · IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
·5· · · · · · · COUNTY DEPARTMENT - LAW DIVISION
·6· JUSTIN MAHWIKIZI,· · · · · · · · · )
·7· · · · · · · · · · · · PLAINTIFF,· ·)
·8· · · · · · · · ·-VS-· · · · · · · · ) NO. 2021 CH 01272
·9· IDPH AND DR. NGOZI EZIKE, IN HER· ·)
10· OFFICIAL CAPACITY,· · · · · · · · ·)
11· · · · · · · · · · · · DEFENDANTS.· )
12· · · · · · Video conference report of proceedings had in
13· the above-entitled matter at Chicago, Illinois,
14· commencing at 10:22 a.m., on Friday, April 30, 2021,
15· before the Honorable EVE M. REILLY.
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Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 51 of 136 PageID #:51




·1· · · · · · · · · · A P P E A R A N C E S
·2· FOR THE PLAINTIFF VIA ZOOM VIDEO CONFERENCE:
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·5· Homewood, Illinois 60430
·6· (267) 252-3305
·7· E-mail - Justin.Mahwikizi@gmail.com
·8
·9· FOR THE DEFENDANTS VIA ZOOM VIDEO CONFERENCE:
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13· Chicago, Illinois· 60601
14· (312) 814-3000
15· E-mail - gretchen.helfrich@illinois.gov
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Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 52 of 136 PageID #:52




·1· · · · · · · · · · P R O C E E D I N G S
·2· · · · · · ·THE COURT:· This is Mahwikizi versus IDPH.
·3· We're here on a motion for a temporary retraining order.
·4· We're here to hear argument.· The case number is 21 CH
·5· 1272, and Mr. Mahwikizi is representing himself.· So,
·6· whenever you're ready, go ahead.
·7· · · · · · ·MR. MAHWIKIZI:· Thank you, Your Honor.· Justin
·8· Mahwikizi, pro se representing myself in Mahwikizi versus
·9· IDPH.· This is an oral argument for a motion for
10· temporary retraining order regarding the IDPH's emergency
11· rules.· For the purpose of this hearing I'll address
12· myself as Mr. Mahwikizi for the court reporter.
13· · · · · · ·Mr. Mahwikizi is a Christian observing the
14· Catholic denomination.· Mr. Mahwikizi conducts business
15· activities by providing business services in
16· transportation field.· By the designation of the IRS
17· rules, rideshare drivers are predominantly sole
18· proprietors or single-member LLCs, that stands for
19· limited liability corporations, although a few of us run
20· partnerships through multimember LLCs where we drive and
21· lease cars to other drivers.
22· · · · · · ·Per one of the transportation network
23· providers, Uber, per their platform access agreement, and
24· I quote from it, it says the following:· "The
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 53 of 136 PageID #:53




·1· relationship between the parties is solely as independent
·2· business enterprises, each of whom operates a separate
·3· and distinct business enterprise that provides a service
·4· outside the usual course of business of the other.· This
·5· is not an employment agreement.· You're not an employee.
·6· You confirm the existence and nature of that contractural
·7· relationship each time you access our platform."
·8· · · · · · ·Secondly it says, "We do not," we as in Uber,
·9· "we do not and have no right to direct or control you.
10· Subject to platform availability, you decide when and
11· where and whether you want to offer delivery services
12· facilitated by our platform and if you want to accept,
13· decline, ignore, or cancel a delivery request."
14· · · · · · Transportation Network Providers like Uber and
15· Lyft consider drivers business owners and not employees.
16· Whether they are sole proprietors or LLCs is not of
17· consequence.· Their mask rules that they announced are
18· suggestions and not mandatory rules for drivers or
19· riders.· As the agreement said, they cannot compel or
20· force.
21· · · · · · Finally, I just want to reiterate that
22· transportation network providers, like Uber and Lyft,
23· clearly denote that drivers are not employees, rather
24· business owners.· As in Sherbert versus Verner and in
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 54 of 136 PageID #:54




·1· Smith, Mr. Mahwikizi is being asked and/or penalized for
·2· being a Christian.· He must choose between his religion
·3· and his work.
·4· · · · · · ·Jesus Christ asks his followers to go out and
·5· do the same as it pertains to the Good Samaritan teaching
·6· where an individual, a man, was hurt in the middle of the
·7· road, and multiple people passed by him without helping
·8· him including priests, and only a Samaritan stopped and
·9· gave aid to that person on the ground.· It didn't matter
10· what he looked like.· It didn't matter what his color
11· was.· He had to help.
12· · · · · · Mr. Mahwikizi adhered by that principal
13· throughout his whole life.· He left a successful banking
14· career to provide this service as a way to get back good
15· with God.
16· · · · · · IDPH asks Mr. Mahwikizi to refuse service to
17· people who don't have a mask or don't have a mask on
18· their nose.· This goes against Mr. Mahwikizi's religious
19· beliefs.· Specifically, it prohibits his communication of
20· his religious beliefs.
21· · · · · · ·IDPH doesn't apply to businesses implicates a
22· subject class, specifically Christian business owners,
23· unlike Braunfeld V. Brown where the Supreme Court ruled a
24· Pennsylvania law establishing a day of rest on Sunday
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 55 of 136 PageID #:55




·1· thereby prohibiting retail sales was Constitutional even
·2· if it financially impacted Jewish store owners who took
·3· Saturday's days off.· IDPH rules force a specific
·4· religion to not practice their religion.· It is a rift
·5· (sic) in the Pennsylvania law in Braunfeld that forced
·6· all Pennsylvania businesses to open on a Saturday thereby
·7· implicating a suspect class of Jewish business owners who
·8· observed the Sabbath on Saturdays.· This, Your Honor, as
·9· the defendants prematurely submitted a motion to dismiss,
10· I will asking a leave to amend the complaint to include a
11· violation of --
12· · · · · · ·THE REPORTER:· I'm sorry.· "To include a
13· violation of"?
14· · · · · · ·MR. MAHWIKIZI:· A violation of first
15· amendment, specifically speech, the right to speech.
16· I'll be asking for leave to amend that complaint.
17· · · · · · ·THE COURT:· Let's just focus on the temporary
18· retraining order right now because that's what we're here
19· for.
20· · · · · · ·MR. MAHWIKIZI:· Yes, Your Honor.
21· · · · · · ·Continuing, Mr. Mahwikizi will prove through
22· the evidentiary phase that IDPH never had a rational
23· basis to establish the rules of August 2020.
24· Mr. Mahwikizi will show the death rates were
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 56 of 136 PageID #:56




·1· significantly lower than official numbers and that the
·2· therapeutic drugs were available, including vaccines, for
·3· more than six months, and they existed and had lowered
·4· death rates across the board.
·5· · · · · · Additionally, Mr. Mahwikizi will show that CDC
·6· said masks do not work.· In fact, CDC has begun
·7· correcting by proclaiming that masks no longer need to be
·8· worn outside.· Since the IDPH's rules, churches have
·9· reopened in Illinois because of legal challenges on
10· Constitutional rights -- Constitutional grounds.· Since
11· the IDPH rules, restaurants have reopened with minimal
12· use of masks.
13· · · · · · ·As stated, rideshare drivers qualify under the
14· IDPH August 2020 emergency rule that's running
15· independent except for businesses.· Thereby for IDPH
16· rideshare drivers can have their businesses penalized for
17· failure to comply through monetary fines.· This means for
18· sole proprietors the fine and penalty will not only be
19· against the business, but it will be the same person
20· running a rideshare business.· The same is true for
21· single-member LLCs where both single-member LLCs and sole
22· proprietors put their numbers on Schedule C on their
23· taxes.
24· · · · · · For a temporary restraining order to stand
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 57 of 136 PageID #:57




·1· there are five basics points a plaintiff must prove.
·2· One, an ascertainable right in need of protection.· In
·3· this case, the right to practice religion with equal
·4· protection rights, the Mahwikizi business suffers based
·5· on how the IDPH rules are written, and the right to
·6· speak, communication of religious beliefs.
·7· · · · · · Two.· The likelihood of success on merit.
·8· Mr. Mahwikizi will contend that the state of the IDPH
·9· should be measured under the strict standard because both
10· his first amendment right of religion and speech have
11· been violated by the rule and, two, even if the judge
12· goes with the IDPH's statement that it should be based on
13· rational basis, I will be able to address the rational
14· basis, the reasons why the plaintiff will also be able to
15· succeed based on past Supreme Court rulings, one
16· including reversing a Supreme Court of Tennessee decision
17· regarding railway.
18· · · · · · Number three.· Irreparable harm in the absence
19· of injunctive relief.· Mr. Mahwikizi as the Supreme Court
20· of the United States cited this -- last year, I guess, in
21· the Roman Catholic Diocese of Brooklyn, New York versus
22· Andrew Cuomo, the Supreme Court found that, "To find
23· irreparable harm, the Supreme Court again assumed a broad
24· understanding of religious freedom in the Constitution
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 58 of 136 PageID #:58




·1· citing a precedent that holds that the loss of first
·2· amendment freedoms for even a minimal period of time
·3· unquestionably constitutes irreparable injury," in Elroy
·4· versus Burns.
·5· · · · · · Number four.· The lack of an inadequate remedy
·6· at law.· It is self-evident that this is the only remedy
·7· that Mr. Mahwikizi could engage in to remedy the status
·8· quo.
·9· · · · · · ·And, finally, number five.· The benefits of
10· injunction outweigh possible injury to the state.· As a
11· result thereof and per the Supreme Court ruling in Roman
12· Catholic Dioceses of Brookland versus Andrew Cuomo,
13· "Granting injunctive relief would not harm the public.
14· Even in a pandemic, the Constitution cannot be put away
15· and forgotten."
16· · · · · · ·Just remember that the rules per the Governor
17· Pritzker's emergency declaration dictate that rideshare
18· drivers have windows open.· In a moment of summer or
19· spring, it's as if you're outside.· There's air
20· everywhere, Your Honor.· And for the CDC to say that you
21· no longer have to wear masks outside confirms that even
22· in a car where the windows are opened and going at
23· 60 miles an hour it is as if you were outside and,
24· therefor, plaintiff can no longer have to require its
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 59 of 136 PageID #:59




·1· clients to put on a mask.
·2· · · · · · ·Plaintiff has had to refuse -- Mr. Mahwikizi
·3· has had to refuse on two occasions clients who did not
·4· have masks on.· On one occasion the woman threatened
·5· Mr. Mahwikizi with mace, and the other occasion a clearly
·6· on drugs person pointed a gun at Mr. Mahwikizi.
·7· · · · · · ·This not only is important for the TRO to be
·8· given, rideshare drivers face risks on a daily basis
·9· trying to maintain the IDPH rule.· And we all believe
10· based on what I've already -- Mr. Mahwikizi has already
11· said that if they allow continuously clients to come in
12· without masks they are subject to IDPH's penalty as is
13· written.· Whether they intend to or not is not a question
14· here, it's as the rules are written are they
15· Constitutional?
16· · · · · · With that, I will -- I will yield and move
17· forward the process.
18· · · · · · ·THE COURT:· Defense.
19· · · · · · ·MS. HELFRICH:· Yes, Your Honor.
20· · · · · · ·Nothing Mr. Mahwikizi has said here today
21· changes any of the arguments we set forth in our brief or
22· change any conclusions about his entitlement to a
23· temporary retraining order.· I will in a moment talk
24· about why he has no likelihood of success on the merits,
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 60 of 136 PageID #:60




·1· why he has no irreparable harm and about the balance of
·2· the harm, but I want to address a couple of things that
·3· he raised first.
·4· · · · · · First of all, I want to make clear that
·5· Mr. Mahwikizi has never alleged that there is no rational
·6· basis for this litigation.· This is something he invented
·7· out of full cloth today.· His temporary retraining order,
·8· his motion for a temporary retraining order stands or
·9· falls based on his complaint and his motion, not stuff
10· that he throws at the court today in this hearing.
11· · · · · · Second, he has contended that there's a
12· religious classification in the law.· I'll address that
13· when I get to my free exercise argument, so let me put
14· that one aside.
15· · · · · · He has stated that he has had to refuse
16· clients, that one of his clients threatened him with mace
17· or threatened him with a gun.· That may be true, but
18· there's no sense in which that relates to any violation
19· of his free exercise privileges or his equal protection
20· privileges, both rights under the Constitution.· Those
21· issues -- it maybe the case that rideshare drivers face
22· dangerous conditions.· That might be true, but there's no
23· suggestion that he was somehow refusing to practice his
24· religion and that lead to those threats.· So, it's just
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 61 of 136 PageID #:61




·1· irrelevant.· It's just irrelevant to the claims that are
·2· before the Court today.· Those claims, quite simply, are
·3· free exercise violations and an equal protection
·4· violation.
·5· · · · · · Now, let me talk for a moment if I can about
·6· why those claims fail.· And I will address what
·7· Mr. Mahwikizi says.· He's right.· There are five things
·8· he has to prove.· He has a high burden here.· He has to
·9· prove that he had --
10· · · · · · ·THE REPORTER:· I'm sorry.· There was paper
11· rattling.· "He has to prove that."
12· · · · · · ·MS. HELFRICH:· Sorry.
13· · · · · · ·-- an ascertainable right in need of
14· protection, a likelihood of success on the merits,
15· irreparable harm in the absence of an injunction, lack of
16· an adequate remedy at law, and then because of the TRO
17· with notice and the same as a temporary injunction he
18· also has to show that the balance of harm or that the
19· benefits of -- quote.· "The benefits of granting the
20· injunction outweigh the possible injury that the state
21· might suffer as a result thereof."· That comes from
22· Granberg versus Didrickson.· That's 279 Ill. App. 3rd
23· 886, 890, (1st District, 1996).
24· · · · · · ·Now, he has to show all of those things.· If
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 62 of 136 PageID #:62




·1· he fails to show even one of them, then he is not
·2· entitled to a TRO.· There are at least three that he
·3· cannot show.· The first element that he cannot show is a
·4· likelihood of success on the merits.· Now, setting aside
·5· what Mr. Mahwikizi said today and setting aside
·6· references to cases in which other plaintiffs in other
·7· circumstances have succeeded on first amendment
·8· challenges Mr. Mahwikizi does not succeed here.· He
·9· cannot.
10· · · · · · The governing standard for a free exercise
11· challenge comes from Employment Division versus Smith,
12· 494 U.S. 872 1990.· Under that case, a neutral law of
13· general applicability does not admit an exemption for
14· free exercise claims.· A neutral law of general
15· applicability is Constitutional if it is supported by a
16· rational basis.· So, that's Smith in addition to Illinois
17· Bible Colleges Association versus Anderson, a 7th Circuit
18· case from 2017.
19· · · · · · ·Now, let's be clear.· If it is neutral and
20· generally applicable and supported by a rational basis,
21· then it is Constitutional even if it has the incidental
22· effect of burdening a religious practice.· That comes
23· from St. Johns United Church of Christ versus City of
24· Chicago, 7th circuit, 2007.· These are all in our briefs,
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 63 of 136 PageID #:63




·1· cited in our briefs.
·2· · · · · · ·So, the regulation has to meet three criteria,
·3· and then it passes even if there is a burden on religious
·4· practice.· So, is the IDPH regulation neutral?· Well,
·5· it's neutral on its face.· It doesn't single out any
·6· religion.· It doesn't single out any religious conduct.
·7· · · · · · ·Mr. Mahwikizi's contention that it singled out
·8· Christian business owners is just false.· It doesn't in
·9· any way.· It applies the same rule to all business
10· owners.· There could well be business owners of other
11· faiths who also have to practice the same kind of -- have
12· the same practices in their faith.· We don't know that.
13· That hasn't been discussed here, but there's no
14· distinction, religious distinction among religions in the
15· law.
16· · · · · · The law does not single out any religious
17· conduct.· It simply says that businesses have to require
18· their customers or other members of the public to wear
19· masks on the business premises.· That's what it says.
20· There's no hidden discriminatory intent, and
21· Mr. Mahwikizi has not alleged in his complaint or in his
22· motion that there is any discriminatory intent behind
23· this law.· So, it's neutral.
24· · · · · · ·Is it generally applicable?· Well, by its
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 64 of 136 PageID #:64




·1· terms it applies to, quote, "Any business, service,
·2· facility, or organization open to the public or
·3· employees."· So, that's Section (C)(2) of the regulation
·4· which is 77 Ill. Admin. Code 690.50.
·5· · · · · · Neutral, generally applicable.· Does it have a
·6· rational basis?· Again, by its terms, this law is aimed
·7· at restricting and suppressing the novel coronavirus
·8· SARS-CoV-2 that causes the coronovirus CV 2019
·9· (COVID-19), a dangerously contagious and infectious
10· respiratory disease in the form of a pandemic or endemic.
11· That's, again, section C of the regulation.
12· · · · · · So, that's the rational basis.· It's aimed at
13· stopping the spread of the coronavirus.
14· · · · · · Now, that is a rational basis on its face.                  I
15· mean we can sit here today and easily conclude that
16· slowing the spread of COVID-19 is rational, but we don't
17· have to because in Williams versus Trump, which is Case
18· Number 20 C 2495 from the Northern District of Illinois,
19· last year the court specifically held that slowing the
20· spread of COVID-19 in Illinois is a rational basis.
21· · · · · · ·So, here we have a neutral law that is
22· generally applicable supported by a rational basis.· And
23· let's be clear.· Mr. Mahwikizi hasn't disputed any of
24· this.· He has not disputed that this law meets all of
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 65 of 136 PageID #:65




·1· these criteria.· What he has said instead or attempted,
·2· we think he said that he has a hybrid claim that somehow
·3· fits into the hybrid claim exception of Smith.· There is
·4· some discussion in Smith of hybrid claims.· Well, his
·5· claim doesn't fit.· First of all, the additional claim --
·6· so, you have your free exercise claim and some other
·7· claim.· The additional claim here isn't one of the types
·8· of claims identified in Smith.· It's not about
·9· communicating your religion.· Again that's something he
10· raised for the first time today.· It's not about parents
11· having the ability to raise their children in their
12· religion.· It doesn't fit with any of the additional
13· claims that were identified in Smith.· Moreover, under
14· the Illinois Bible Colleges Association case, you cannot
15· combine a free exercise claim with a meritless claim
16· about another Constitutional right to create a hybrid
17· claim.
18· · · · · · So, Mr. Mahwikizi's equal protection claim, and
19· I'll explain in a moment why that's meritless, that
20· doesn't get him a hybrid claim.· If it did, every
21· plaintiff would just plead a second violation, and then
22· they'd all have hybrid claims.· So, it's obvious that
23· that doesn't create a hybrid claim.
24· · · · · · And that's even if a hybrid claim would get him
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 66 of 136 PageID #:66




·1· some other type of relief.· Regardless, he doesn't have
·2· one.
·3· · · · · · ·The second thing he argues or appears to argue
·4· is that his claim meets Sherbert.· We assume he's
·5· referring to Sherbert versus Verner, 374 US 398, (1963).
·6· Well, maybe it does, maybe it doesn't meet Sherbert.· We
·7· don't know.· It doesn't matter.· The Supreme Court
·8· rejected Sherbert in the Smith case.· We're not doing
·9· Sherbert anymore, so the balancing test of Sherbert
10· doesn't apply.
11· · · · · · We are back to mutual, generally applicable,
12· supported by a rational basis.· The IDPH regulation
13· clearly meets all those criteria.· Mr. Mahwikizi's free
14· exercise claim cannot succeed.
15· · · · · · ·The same is true of his equal protection
16· claim, and this is true for three separate reasons, each
17· of which is fatal to the claim.· First of all, the first
18· two are injury related, so bear with me.· First of all,
19· he does not allege and he cannot allege that businesses
20· and individuals are similarly situated for purposes of
21· equal protection.
22· · · · · · ·Now, a plaintiff bringing equal protection
23· challenge has to allege that there are two groups being
24· treated differently and they are similarly situated,
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 67 of 136 PageID #:67




·1· which means in this context prima fascia identical in all
·2· relevant respects.· That language comes from Racine
·3· Charter One, Inc. versus Racine Unified School District.
·4· 423 F.3rd, 677, 680 (7th District 2005).· Again, it's in
·5· our brief.
·6· · · · · · So, let me point out two ways in which
·7· businesses and individuals not similarly situated.
·8· First, businesses are in a better position to implement
·9· policy for the business premises than an individual is.
10· In fact, a business almost always has to be the entity
11· that does that.· If the business owns the premise or
12· leases the premise or has control over the premise, as is
13· going to be the case with most businesses, then the
14· business has to set the policies for conduct on the
15· premises of the business.
16· · · · · · Second, a business cannot be put in prison.· An
17· individual can.· I'm going to explain in just a second
18· why those two criteria are relevant and why the
19· difference between businesses and individuals makes them
20· not similarly situated.· To do that I need to talk about
21· the second reason the claim fails, which is that
22· Mr. Mahwikizi cannot possibly show that there is no
23· rational basis for the distinction between businesses and
24· individuals.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 68 of 136 PageID #:68




·1· · · · · · Under City of Cleburne versus Cleburne Living
·2· Center, 473 U.S. 432, 1985, a regulation is presumed to
·3· be valid and will be sustained if it is rationally
·4· related to legitimate state interests.
·5· · · · · · So, this is the so-called rational basis
·6· standard.· The rational basis standard applies to all
·7· classifications in any law or regulation unless the
·8· classification is based on race, alienage, national
·9· origin, or a so-called suspect class.
10· · · · · · ·That's not the case here.· Despite what
11· Mr. Mahwikizi has said, the classification in the IDPH
12· regulation is between businesses and individuals.
13· Nothing suspect about those characteristics.· As a result
14· under Cleburne, IDPH has wide latitude, that's the phrase
15· they use, wide latitude to make classification.
16· · · · · · ·It is Mr. Mahwikizi's burden under equal
17· protection law to show that there is no conceivable
18· legitimate public interest that is furthered by this
19· classification.
20· · · · · · ·And let's be clear.· We don't have to say or a
21· governing entity doesn't have to identify the rational
22· basis in the regulation or ahead of time.· Under St. Joan
23· Antida High School versus Milwaukee Public School
24· District, that's a 7th Circuit 2019, a classification is
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 69 of 136 PageID #:69




·1· generally valid as long as the rational basis is
·2· plausible even if the legislature did not expressly
·3· endorse it.
·4· · · · · · Well, here we don't see in the regulation that
·5· IDPH specifically claimed what its rational basis for
·6· distinguishing between individuals and businesses in
·7· terms of enforcement.· Let's be clear.· It only refers to
·8· enforcement.· But we can come up with at least two
·9· rational bases.· If we had a lot of time I'd come up with
10· some more, but here's a few.
11· · · · · · ·Back to the differences between businesses and
12· individuals.· Businesses set policy for business
13· premises.· So, for IDPH to focus its enforcement efforts
14· on the entities that are responsible for implementing the
15· policy that's going to help curb the spread of COVID-19
16· is completely rational.· That's a completely rational
17· thing for IDPH to do.
18· · · · · · ·Second.· In the environment of this particular
19· pandemic, and let's hope it's the only pandemic we have
20· to deal with, that in this environment it is very
21· plausible that IDPH could have reasoned that enforcing
22· only businesses, which can't be put in jail and thereby
23· eliminating the possibility that anyone would go to jail
24· for violation of this regulation, which is ordinarily a
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 70 of 136 PageID #:70




·1· possibility for violation of an IDPH regulation.· That's
·2· true before this pandemic before this regulation.· But
·3· eliminating the possibility that anyone was going to end
·4· up in jail for violating this regulation could be -- IDPH
·5· could have concluded that that would be seen as less
·6· heavy-handed, less authoritarian, more cooperative and
·7· could have concluded that proceeding on that basis would
·8· lead to more compliance with the regulation and less
·9· antipathy towards IDPH.· More compliance means more masks
10· means less spread of COVID-19.
11· · · · · · Those are two, two plausible basis for the
12· regulation.
13· · · · · · There are, as I said, there are more, but I'm
14· not going to spend the time on more.· And it doesn't
15· matter whether those would be reasons that IDPH had in
16· mind when it made the classification.· It is perfectly
17· justified in making that classification.
18· · · · · · Now, Mr. Mahwikizi might argue, well, I'm an
19· individual and I'm a business.· Well, I think we learned
20· from what he said earlier that that's not true because he
21· mentioned the multimember partnership.· But even so, even
22· so, the classification doesn't have to be perfect under
23· rational basis.· It can be over inclusive or under
24· inclusive.· That comes from St. Joan Antida, the case
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 71 of 136 PageID #:71




·1· that I mentioned before.
·2· · · · · · And there can also be a little bit of
·3· inequality under the regulation.· That comes from City of
·4· Chicago versus Shalala, 189 F.3d 598.· That's a 7th
·5· Circuit from 1999.· That's the kind of latitude we're
·6· talking about when we're dealing with the rational basis
·7· standard.· If there's a good enough reason for deciding
·8· between or distinguishing between these two categories
·9· and they're not suspect category, it doesn't matter if
10· the state is perfect.· It's good enough.
11· · · · · · So, whether Mr. Mahwikizi falls into a crack
12· between perfect fit and not a perfect fit, it doesn't
13· matter.· Under equal protection law that has no bearing
14· on the Constitutionality of this provision.· So, that is
15· the second reason why Mr. Mahwikizi's claim is not going
16· to succeed.
17· · · · · · There is a rational basis for this
18· legislation -- for this distinction between businesses
19· and individuals, and the regulation, therefor, does not
20· violate equal protection.
21· · · · · · ·There's a third reason which is Mr. Mahwikizi
22· has no standing to bring this claim.· He is an
23· individual.· Whatever he says about his business he,
24· Mr. Mahwikizi, the plaintiff in this case, is an
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 72 of 136 PageID #:72




·1· individual.· And individual faces no enforcement
·2· penalties, no fines, no judgment, nothing under this
·3· regulation.· He faces no punishment.· It says flat out in
·4· Section D of the regulation that an individual cannot be
·5· penalized for failure to enforce on behalf of a business.
·6· So, he faces no sanction here.· There's no harm, no
·7· injury in fact that would give rise to the standing.
·8· · · · · · ·In addition, and this is related but it's
·9· distinct, as an individual he's not a member of the class
10· that he alleges is being treated differently.· Under
11· Srail versus Village of Lysle, which 588 F.3rd at 943,
12· under equal protection plaintiff is required to show
13· disparate treatment of a class to which he or she
14· belongs.· Mr. Mahwikizi isn't a business.· He doesn't
15· belong to the class of business.· He, therefor, cannot
16· claim, cannot bring an equal protection challenge.
17· · · · · · ·So, those are three separate reasons:· Not
18· similarly situated, there exists a rational basis, and no
19· standing.
20· · · · · · That's under the equal protection claim he's
21· not likely to proceed on the merits.· So, these two
22· theories, free exercises, equal protection, neither has
23· any likelihood of success on the merits.· That alone
24· torpedos his motion for a TRO.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 73 of 136 PageID #:73




·1· · · · · · ·But then we get to irreparable harm.
·2· Mr. Mahwikizi has a big problem here because, as I just
·3· pointed out, this regulation can't be enforced against
·4· him.· He faces no penalty here.· He faces no injury, no
·5· threat of injury, no theoretical injury from enforcement
·6· of this legislation.
·7· · · · · · ·Even if there were a threat, he still hasn't
·8· shown that he faces irreparable harm.· He has not alleged
·9· anywhere that he has ever had to refuse a ride to a
10· passenger in need because they weren't wearing a mask.
11· He's never alleged that.· He's never alleged, for
12· example, that he couldn't provide that person with a mask
13· and transported the person that way.· But more to the
14· point, he's never alleged that such a person exists.· He
15· presented no facts which would suggest that he's
16· imminently going to face that possibility.· He simply
17· hasn't done it.
18· · · · · · ·The regulation's been in effect since August.
19· If this were a real issue that he faced you'd think he
20· could be able to come up with some facts to show that
21· this happened.· An example he gives about refusing a ride
22· to someone, is he saying those were people who were in
23· need and couldn't -- and he wasn't allowed?· Is he saying
24· that every passenger he picks up he's required to pick up
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 74 of 136 PageID #:74




·1· because of the Good Samaritan principle?· I'm not sure if
·2· that's what he's saying, but, regardless, he has not
·3· adequately alleged that passengers in need actually
·4· exist.· His harm here on that score is entirely
·5· speculative, and speculative harm will not support
·6· equitable relief.
·7· · · · · · Even if he could convince the Court that he
·8· actually would have to refuse passengers under this
·9· regulation, he doesn't for another reason.· The
10· regulation only requires that a business makes -- or
11· anybody makes reasonable effort to insure compliance.
12· This regulation -- what Uber requires him to do, what the
13· CDC requires him to do based on their regulations on
14· conveyance, I'm not talking about that.· He cited at
15· least two other rules that requires him to require his
16· customers to wear a mask.· But if he's talking about
17· having to leave people on the side of the road who are in
18· need because they don't have a mask, he has not even
19· attempted to show why that doesn't fit within the
20· reasonable effort exception or whether it would be an
21· unreasonable effort.· He hasn't done it.· He hasn't shown
22· any harm at all.· He can't because the regulation can't
23· be enforced against him, and he certainly can't show
24· irreparable harm.· So, likelihood of success, no
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 75 of 136 PageID #:75




·1· likelihood of success, no irreparable harm.· TRO is done
·2· on those two.
·3· · · · · · ·Then we get to the balance of harm.· It's his
·4· job again to show that the benefit of the injunction
·5· outweighs the harm to the state and to the public.
·6· Again, he has not done it.· First of all, there's no
·7· benefit to him from this injunction.· He's not subject to
·8· penalties under this rule, so there's zero on that side
·9· of the scale.· The scale, keep in mind, has to be heavier
10· on his side.· There is zero on his side.
11· · · · · · On the other side, the injunctions he's asking
12· for today in his TRO motion is pretty sweeping.· He's
13· phrased it so that IDPH can't keep a mask mandate going.
14· It has to stop.· It can't review this mask mandate.· It
15· can't extend it, re-enact it, none of that for the
16· duration of the pandemic.· So, he's saying take away a
17· critical tool to stopping the spread of COVID-19 in the
18· middle of the pandemic, and he's saying that when there
19· is zero on his side of the balance.· Zero.
20· · · · · · He cannot show that the balance of harm favors
21· him, and that is a third separate independent reason why
22· his motion fails.
23· · · · · · I go back to where I started.· A temporary
24· restraining order, a preliminary injunction, these are
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 76 of 136 PageID #:76




·1· extraordinary remedies, and they are required when there
·2· is an extreme emergency and serious harm would result.
·3· No harm results from this regulation to Mr. Mahwikizi.
·4· There is simply no ground for issuing a TRO or a
·5· preliminary injunction in this matter.
·6· · · · · · ·Thank you, Your Honor.
·7· · · · · · ·THE COURT:· Thank you.
·8· · · · · · ·MR. MAHWIKIZI:· Your Honor, if can I respond.
·9· · · · · · ·THE COURT:· Sure.
10· · · · · · ·MR. MAHWIKIZI:· The question of the rational
11· basis.· I believe counsel is mistaken in error.
12· Mr. Mahwikizi, he's that sole proprietor, not a member of
13· a multimember LLC.· I just said that --
14· · · · · · ·THE REPORTER:· I'm sorry, counsel -- I mean
15· Mr. --
16· · · · · · ·MR. MAHWIKIZI:· Sure.· My apologies.
17· · · · · · ·I'm saying Mr. Mahwikizi is a sole proprietor
18· and not a member of a multimember LLC.· And, as counsel
19· just said, if the IDPH or maybe Your Honor can write in
20· the order whatever finding comes out that rideshare
21· drivers have a right to refuse IDPH's emergency rules and
22· will not face either jail time or a fine, great, that's a
23· new policy.· But IDPH does not announce that as it comes
24· to sole proprietors, and that's the big issue because
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 77 of 136 PageID #:77




·1· sole proprietors, individuals, can make a claim on behalf
·2· of their sole proprietorship.· It's not an LLC, so I
·3· don't need a lawyer to bring in their name.
·4· · · · · · ·But let's go to the rational basis arguments
·5· that counsel just stated.· First of all, I believe based
·6· on my claim this -- which should meet the strict, the
·7· strict review versus the rational review, but counsel
·8· said that it's a neutral law or general applicability
·9· that's supported by rational basis.· The act of refusing
10· service to people who don't have masks goes contrary to a
11· crucial part of the Christian religion which is to give
12· service to those in need.
13· · · · · · ·I myself am a rideshare driver.· I don't make
14· a million dollars a year, so, no, I cannot provide masks
15· to people who ride my cab.· I can't.· I just can't.· So,
16· when it says it's a neutral law of general applicability
17· imagine just like in Braunfeld versus Brown, 1961 in
18· Pennsylvania was still saying Sunday was a rest day
19· impacting the Jewish community who takes Saturdays off if
20· they had said, well, Saturday everyone has to work.
21· That's general.· That's neutral law.· However, it
22· specifically indirectly applies to such a class of that
23· Jewish community that adheres to the Saturday as a
24· Sabbath.· So, this rule specifically goes against the
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 78 of 136 PageID #:78




·1· crux of Christianity which is to give help to those in
·2· need.· Not just the poor, but those in need.
·3· · · · · · Now, if we can go to the rational basis, those
·4· in the 12(B)(6) motion applicability that counsel just
·5· tried to make a case for, in Borden's Farms Products
·6· versus Baldwin, as in Nabia versus New York, the Supreme
·7· Court explained that the rational basis is a presumption
·8· of fact of the existence of factual conditions supporting
·9· the legislation.· It is a rebuttal presumption, not a
10· conclusive presumption.
11· · · · · · ·MS. HELFRICH:· I'd like to object here.
12· Mr. Mahwikizi never made any allegation that there wasn't
13· a rational basis for any of the provisions.· He didn't
14· make it with regard to his free exercise claim, he didn't
15· make it with regard to his equal protection claim.
16· Never.· It's no where in his complaint, it's no where in
17· his motion.· I don't think he should be arguing rational
18· issues or attempting to create factual issues where none
19· exist and he hasn't alleged them.
20· · · · · · ·MR. MAHWIKIZI:· If counsel remembers,
21· plaintiff did not respond to your answer because time was
22· critical to get this hearing done.· So, consider this not
23· just an argument, it's a response to your answer.· That
24· it's not written, show me a law that says I cannot.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 79 of 136 PageID #:79




·1· · · · · · ·I would like to continue with this, Your
·2· Honor, if you're agreed because this is the only
·3· opportunity that I have to make this argument.
·4· · · · · · ·THE COURT:· Go ahead.
·5· · · · · · ·MR. MAHWIKIZI:· Thank you.
·6· · · · · · ·In Borden's Farms Products versus Baldwin, as
·7· in Nabia versus New York, the Supreme Court explained
·8· that rational basis is a presumption of fact of the
·9· existence of actual conditions supporting the
10· legislation.· It is not -- it is a rebuttal presumption,
11· not a conclusive presumption or a rule of law which makes
12· legislative action invulnerable to Constitutional
13· assault, nor is such an immunity achieved by treating any
14· defensible conjecture as enough to repel attack.
15· · · · · · ·When the law is called in question, there is a
16· presumption of the existence of that state of facts, and
17· one who has failed the classification must carry the
18· burden of showing by resort of common knowledge or other
19· matters which may be judicially noticed or other
20· legitimate proof that the action is arbitrary.· The
21· principle that a state has a broad discretion and
22· classification in the exercise of its power for
23· regulation is constantly recognized by the Supreme Court
24· they said.· But still the statute may show on its face
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 80 of 136 PageID #:80




·1· that it's arbitrary or, after a full showing of facts or
·2· opportunity to show them, it may be found that the burden
·3· of establishing that classification with that -- is
·4· without rational basis has not been sustained, but it's
·5· crucial that there's an opportunity to show those facts.
·6· · · · · · The Rule 12(B)(6) does not allow courts to
·7· dismiss lawsuits, even rational basis cases, which make a
·8· plausible claim for relief.· Judges do not dismiss
·9· rational basis cases just because the government claims
10· without any proper or actual evidence that a law is
11· rational.· The United Supreme Court even reversed a
12· decision of the Tennessee Supreme Court on the ground
13· that a person should have a chance to prove that a law
14· that once may have been rational had become obsolete or
15· irrational.
16· · · · · · ·And when we go down to the restricted novel --
17· the rational basis that counsel outlined of restricting a
18· novel virus that is dangerous and killing people,
19· plaintiff will show through his request for documents,
20· that the data, some of it the plaintiff is already aware
21· of through a Freedom of Information Act that will be
22· included in the amended complaint, the data of infection
23· numbers that the state has announced are defective
24· because they do not include what the threshold count of
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 81 of 136 PageID #:81




·1· the PCR test was.· And IDPH has admitted, their own
·2· attorneys have admitted publicly through a FOIA action
·3· that they do not have those counts.· And, so, to build a
·4· rational basis on this data that is, at best, inaccurate
·5· as well as the director of the IDPH, Dr. Ezike's
·6· explanation on what the classification of a death of
·7· COVID is which is so liberal even given the squirrel that
·8· fell down a tree got tested with a count of 40 threshold
·9· would classify as a COVID death.
10· · · · · · let's go the effect that the St John's case
11· that counsel announced.· To plaintiff, this is not an
12· incidental effect.· My whole religion is the reason I'm
13· here.· And, so, I do not refuse rides to people who come
14· to my car.· Mr. Mahwikizi has accepted half naked clients
15· who were drunk and his friends were trying to get them
16· home.· Their friend came with them to take care of them,
17· but he did not refuse service based on appearance,
18· religion, race, or any of that.· He's even given rides
19· during the riots of last year.· Mr. Mahwikizi accepted
20· rides from bleeding clients, he accepted rides from
21· pregnant ladies going to the hospital because they're
22· about to deliver.
23· · · · · · ·Something that most people don't understand is
24· rideshare drivers are now being called before the
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 82 of 136 PageID #:82




·1· ambulance because we're going to get there faster and get
·2· them where they're going faster than if they had to wait
·3· for a 911 call, service call.· So, this rule that IDPH
·4· says that we have to refuse service strikes at the heart
·5· of the good Samaritan principal.· The Good Samaritan
·6· principle is one of the key identifying aspects of
·7· Christianity that none of the other major religions have.
·8· They do have that you should help the poor or you should
·9· help people in your plan or in your faith, but
10· Christianity specifically with Jesus Christ's teachings
11· says you should help anyone.· Period.· There's no ifs.
12· And that is what Mr. Mahwikizi is doing.· And, in fact,
13· Mr. Mahwikizi has already raised this with counsel in
14· Mahwikizi versus Pritzker in his emergency orders that he
15· merely cannot say no to people coming into his car.
16· · · · · · ·So, the question becomes if counsel says
17· Mr. Mahwikizi as a sole proprietor does not face any jail
18· time or fines for violating this rule, Mr. Mahwikizi
19· would like that in writing so he can inform the members
20· of his association of rideshare drivers in Chicago that
21· we are allowed to accept anybody.· And the rules do not
22· state that.· The rules actually threaten either jail time
23· for the individual or a fine for the sole proprietorship.
24· Uber and Lyft do not bare any exposure because their
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 83 of 136 PageID #:83




·1· agreement says we're not employees, we're just businesses
·2· contracting with them.· Therefor, the question here
·3· becomes, and why the TRO is so important, it is so vague
·4· to 60,000 rideshare drivers in Chicago that some of us
·5· have stayed home.
·6· · · · · · ·Prices for clients have gone up.
·7· Mr. Mahwikizi's religion is being impeded although
·8· counsel stated that doesn't matter.· Mr. Mahwikizi's
·9· business as a sole proprietorship qualifies under the
10· emergency rules, but counsel says that we won't get
11· punished anyways.· All of that is confusing and goes to
12· the irrationality of this law or this rule.
13· · · · · · ·And plaintiff reiterates the need for a TRO
14· until this is figured out through an evidentiary process,
15· and it will not hurt the state because it's a car.· It's
16· not Wal-Mart where 60,000 people come in.· It's a car,
17· one person at a time, windows down.· The driver may wear
18· a mask, but the client and her child or somebody else may
19· not.· Some come in with a mask and then take it off
20· afterward.· For example, I'll pick up -- Mr. Mahwikizi
21· will pick up a client in Indiana which has no mask
22· requirement and drive him to Illinois where he puts the
23· mask on once they get past the Illinois boarder.· Does
24· that affect an interstate flag?· I don't know, but I
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 84 of 136 PageID #:84




·1· believe the TRO is needed for this case for this
·2· individual to go through an evidentiary process which
·3· will prove that there was no rational basis.· And the
·4· rational basis there even was, Judge, I believe there
·5· was, it is irrational and it is obsolete at this time.
·6· · · · · · ·THE COURT:· All right.· Thank you.· Counsel,
·7· is there anything else?
·8· · · · · · ·MS. HELFRICH:· I'd just like to make two
·9· points.· Again I reiterate if Mr. Mahwikizi challenged
10· the rational basis for this regulation he hasn't plead
11· it, he hasn't mentioned it in his motion, and, therefor,
12· he has failed to make a showing that he's likely to
13· succeed on the merits.· Completely failed to make a
14· showing that would entitle him to a TRO.
15· · · · · · Secondly, he thinks the regulation is unclear.
16· I don't know what's unclear about it.· It says no
17· individual will face enforcement on behalf of the
18· business.· No individual even if the individual is the
19· owner of the business.· That's what the regulation says.
20· That's the literal text.· That's not my gloss on it,
21· that's what it says.· So, in addition, Mr. Mahwikizi has
22· never --
23· · · · · · ·MR. MAHWIKIZI:· (Inaudible.)
24· · · · · · ·MS. HELFRICH:· Excuse me, Mr. Mahwikizi.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 85 of 136 PageID #:85




·1· · · · · · ·He has never previously mentioned clarity of
·2· the regulation as forming any part of his claim, so this
·3· is entirely new today.· Again, he's not made a showing
·4· with regard to that issue.
·5· · · · · · ·I just want to emphasize that there's a
·6· difference between a regulation that has an effect, an
·7· incidental effect on religious practice under Smith which
·8· is allowed under Smith and a regulation that targets
·9· religions practice.· You just cannot look at this
10· regulation and say that it targets religions practice.
11· It does not target religious practice.
12· · · · · · ·When he talked about Saturday closing laws or
13· Sunday closing laws, those are laws that could arguably
14· be viewed as targeting specific religions.· That's not
15· what we're dealing with here.· We're dealing with a
16· generally applicable law that's trying to stop the spread
17· of COVID-19.· It is not -- it is not subject to strict
18· scrutiny.· It is not a religious classification.· It is
19· not a targeting religion.· It's neutral.
20· · · · · · ·MR. MAHWIKIZI:· If I can respond.
21· Miss Helfrich interrupted me and I gave her the floor
22· when she did.· Anyway.
23· · · · · · This targets the underpinning work of what
24· Christianity means.· When she says this is generally
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 86 of 136 PageID #:86




·1· applicable, it goes against -- it literally mandates
·2· Christians to refuse service.· It doesn't get better than
·3· that in restricting religion.· Whether they say it or
·4· not, this is the effect.· That's why there's no drivers
·5· on the road.· They're scared they're going to be fined or
·6· put in jail.
·7· · · · · · Now, if the law -- if the rules do not apply to
·8· sole proprietorships, which the IRS recognizes as
·9· businesses, then please have the IDPH say it because as
10· it's written, it's businesses.· And the IDPH -- and sole
11· proprietors are business people.· They own businesses.
12· · · · · · ·I don't know how else I can say it, Your
13· Honor, that because I forfeited my chance to write this
14· in an answer, a response to their answer means that the
15· court cannot consider it, that fine.· We'll see what a
16· reviewing court says, but that is still -- it's
17· prejudicial to me if that was the case.
18· · · · · · The only thing I'll ask Your Honor after
19· hearing the arguments is that the order be issued -- not
20· be issued on a Friday.· I've submitted a Supreme Court
21· rule amendment proposal for a 307(B) appeal.· Because
22· this is issued on a Friday, it only gives the plaintiff
23· Monday to turn everything else in.· If it can be
24· submitted on a Monday to Wednesday or Thursday, that
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 87 of 136 PageID #:87




·1· would be great because it did actually allow us so many
·2· days to do a 307(B) appeal if it's submitted before
·3· the...
·4· · · · · · ·THE COURT:· All right.· Thank you.· The Court
·5· will take it under advisement.· You will be notified when
·6· I have a decision.· Thank you for your arguments.
·7· · · · · · ·MS. HELFRICH:· Thank you, Your Honor.· May I
·8· raise two other items?· Small items.
·9· · · · · · ·THE COURT:· Not related to argument.· I'm done
10· listening to argument.
11· · · · · · ·MS. HELFRICH:· No, not related to argument.
12· · · · · · ·THE COURT:· Okay.· Go ahead.
13· · · · · · ·MS. HELFRICH:· On Wednesday we filed a motion
14· to dismiss and a motion to stay discovery pending that
15· motion, and I just wanted to ask if we could set briefing
16· schedules on those today.
17· · · · · · ·THE COURT:· When are they up for presentment?
18· · · · · · ·MS. HELFRICH:· Well, I asked that they be up
19· for presentment today, but I didn't get a response.
20· · · · · · ·THE COURT:· Got it.· Go ahead.
21· · · · · · ·MR. MAHWIKIZI:· TRO decision and go through
22· any pending appeal process.· That might take ten days
23· before we go to the next phase.· I would appreciate it.
24· I'm still pro se here.· I'd ask that.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 88 of 136 PageID #:88




·1· · · · · · ·MS. HELFRICH:· I have no objection to a long
·2· briefing schedule if that's what Mr. Mahwikizi wants to
·3· do on the motion to dismiss to accommodate an appeal he
·4· might take.
·5· · · · · · ·MR. MAHWIKIZI:· No, I'm asking that -- I'm
·6· asking that that discussion not take place now and allow
·7· the judge to make a decision on the TRO without any --
·8· · · · · · ·THE REPORTER:· "Without any?"· I didn't hear,
·9· Mr. Mahwikizi.· You said without any?
10· · · · · · ·MR. MAHWIKIZI:· Any preconceived notion of
11· where the judge will rule.
12· · · · · · ·THE COURT:· I wasn't aware that there had been
13· any motions that have been filed, so we'll just enter a
14· briefing schedule after I make a determination on the
15· TRO.
16· · · · · · ·MS. HELFRICH:· One final request, Your Honor.
17· Our motion to stay discovery until the motion to dismiss
18· was also filed on Wednesday, and I understand you'll set
19· a briefing schedule after you rule on the TRO.· I'd like
20· to make an oral motion for stay of discovery pending the
21· ruling on that motion.
22· · · · · · ·MR. MAHWIKIZI:· Your Honor, we're two days
23· away from the deadline.· We've got three days.· I'm not
24· sure why they're looking for a stay.
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 89 of 136 PageID #:89




·1· · · · · · ·MS. HELFRICH:· We're looking for -- go ahead.
·2· · · · · · ·THE COURT:· The issue of whether or not
·3· discovery should be stayed will be made after I have a
·4· chance to look at the motion.· So, as far as -- I'm not
·5· ruling on anything right now.
·6· · · · · · ·MS. HELFRICH:· Okay.
·7· · · · · · ·THE COURT:· The only thing you need to do is
·8· submit an order indicating that the court is taking this
·9· under advisement, and I will notify you when I have made
10· a decision.· The motions as far as I know were not up for
11· presentment.· I have seen nothing, but we will enter and
12· continue them since you're telling me they've been filed.
13· · · · · · ·MS. HELFRICH:· Thank you, Your Honor.
14· · · · · · ·THE COURT:· Thank you.· Have a good day.
15· · · · · · ·MR. MAHWIKIZI:· Your Honor.
16· · · · · · ·THE COURT:· Yes?
17· · · · · · ·MR. MAHWIKIZI:· I said thank you.
18· · · · · · ·THE COURT:· Thank you.
19· · · · · · · · ·(Ending time - 11:15 a.m.)
20· · · · ·*· *· AND FURTHER DEPONENT SAITH NOT· *                *
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Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 90 of 136 PageID #:90




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Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 91 of 136 PageID #:91
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 92 of 136 PageID #:92
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 93 of 136 PageID #:93
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 94 of 136 PageID #:94
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 95 of 136 PageID #:95
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 96 of 136 PageID #:96
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 97 of 136 PageID #:97
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 98 of 136 PageID #:98
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 99 of 136 PageID #:99
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 100 of 136 PageID #:100
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 101 of 136 PageID #:101




                  EXHIBIT (5)
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 102 of 136 PageID #:102




May 27, 2021

Harvey Police Department                              Riverdale Police Department
15301 Dixie Hwy,                                      725 W 138th St
Harvey, IL 60426                                      Riverdale, IL 60827
(708) 331-3030                                        (708) 841-2203


Dear Harvey Police Dept Chief,                        Dear Riverdale Police Dept Chief,

This letter is written to make a complaint regarding a police stop incident that occurred
on May 26th at, or around, 12PM Central near the intersection of 159th St & Halstead.

My name is Justin Mahwikizi and from time to time I provide transportation services in
the form of Rideshare services to the public.

On May 26th at 11:41AM; I picked up a customer, Mr. K (Not releasing name because
customer was a minor between the ages of 16-18) who had a destination of the River
Oaks Mall.

At, or around 12:00PM Central time, an unmarked police car (silver sedan with police
plates starting with MP) pulled my car over. Two police officers exited, one tall in his
early 30s, and the second one much shorter in what appears to have been in his mid 40s.
Both officers were African Americans; my customer was an African American, as I am.
Race did not appear to be the issue in this stop.

Tall officer came by the driver side and asked for my ID as the driver. I gave it to him.
He checked with the police station over a portable radio communication device. I was
cleared. Tall Officer then proceeded to ask my customer Mr. K if he had any weapons on
him. Mr. K answered in the negative. Tall Officer then proceeded to berate Mr. K. Tall
Officer told us that we were stopped because of the type of mask Mr. K was wearing.
CDC mask guidance still asks local authorities that masks must still be worn in
transportation settings. Tall officer said the mask Mr. K was wearing made him look like
he “was going to commit a robbery on the driver”. I, as the driver, assured the officers
that I felt safe with Mr. K and nothing of the sort was going to happen. Mr. told the
officers that the mask he had on was the same mask that he was forced to wear at school
as well. CDC mask guidance still asks local school districts to enforce a mask mandate in
schools.

Tall officer continued to berate Mr. K and proceeded to go on the passenger rear door.
Tall Officer opened the passenger rear door and asked Mr. K for his ID. Mr. K provided
his ID still saying his mask was accepted at school. Tall officer gave Mr. K’s ID to Short
Officer to check with station over radio. Tall officer asked Mr. K again if he had any
weapons on him. Mr. Said “No”. Tall Officer proceeded to manually feel around Mr. K’s
waist. Mr. K, a minor, was visibly shaken. I counseled Mr. K to remain calm and Mr. K
listened to me after looking like he was about to run away due to his fear. Tall officer then
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 103 of 136 PageID #:103




proceeded to physically remove Mr.K’s mask. Mr. K, a minor, was traumatized. His
offense and the reason we were given for being pulled over was the mask Mr. K had to
wear in the RideShare ride, and had to wear at his school. Tall officer found no weapon
on Mr. K’s person.

Moments later, Short Officer gave Mr. K his ID back. He was cleared. Tall Officer then
asked Mr. K to not wear that mask again and only manually use it to just cover his mouth.
The officers proceeded into their unmarked silver sedan and waved to us to leave.

I proceeded to continue and providing the transportation service to Mr. K and dropped
him off at the River Oaks Mall. Mr. K was visibly shaken and traumatized. His only
crime was wearing a mask that the CDC required him to wear during a transportation
settings and during his school. Attached is a mask like the one Mr. K had on.

I was aware that the actions of the tall officer went against my own constitutional rights.
Specifically the 4th Amendment against search of a place of business (my car) without
probable cause. The mask worn by Mr. K was not a sufficient cause to suspect Mr. of
robbery and carrying firearms. When Tall officer opened my car to search Mr. K’s waist
line while Mr. K was seating in the car, that became a violation of my 4th Amendment
rights.

However, there will be no legal action against your police department. This is so because
“But for” the recommendations of the CDC and the implementation of local authorities
of the CDC’s guidance on mask policy, Mr. K who belongs to a group that has been
extraordinarily strong against Covid-19, would not have believed he needed to wear a
mask during his ride to the mall.

Therefore, I will be applying the Constitutional violations to the party that caused it,
Cook County Health Department, and the CDC. This letter is to inform of the event,
and ask that you inform officers in your police departments to not use masks as a cause to
stop vehicles and conduct searches. Especially against minors. The silver sedan was
unmarked and therefore based on the location of the stop, I could only conclude that
those officers were with the Harvey or Riverdale Police Department. In fact after the
incident, the police officers made a U-Turn to go back towards Harvey/Riverdale.
Therefore I address this letter to both Harvey and Riverdale Police Departments.

Masks should not be a pretext for police engagement in traffic stops. Thank you for your
attention. I am thankful Mr. K listened to me and did not act rashly. Otherwise, This
incident could have gone very wrong for all parties involved.




Justin Mahwikizi
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 104 of 136 PageID #:104




                  EXHIBIT (6)
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 105 of 136 PageID #:105




CDC EXPEDITED FREEDOM OF INFORMATION ACT REQUEST
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 106 of 136 PageID #:106
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 107 of 136 PageID #:107
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 108 of 136 PageID #:108




                  EXHIBIT (7)
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                   Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 109 of 136 PageID #:109

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  The Birth of Jim Crow


  C. Vann Woodward (/users/c-vann-woodward)
  April 1964   (/content/april-1964)   |   Volume 15, Issue 3




    «    1     2    3    4     5       6    »                                                           View full article


  In the spring of 1885, Charles Dudley Warner, Mark Twain’s friend, neighbor, and onetime collaborator from Hartford,
  Connecticut, visited the International Exposition at New Orleans. He was astonished to nd that “white and colored
  people mingled freely, talking and looking at what was of common interest,” that Negroes “took their full share of the
  parade and the honors,” and that the two races associated “in unconscious equality of privileges.” During his visit he
  saw “a colored clergyman in his surplice seated in the chancel of the most important white Episcopal church in New
  Orleans, assisting in the service.”

  It was a common occurrence in the i88o’s for foreign travellers and northern visitors to comment, sometimes with
  distaste and always with surprise, on the freedom of association between white and colored people in the South.
  Yankees in particular were unprepared for what they found and sometimes estimated that conditions below the
  Potomac were better than those above. There was discrimination, to be sure, and Negroes were often excluded from
    rst-class public accommodations—as they were in the North. But that was done on the responsibility of private
  owners or managers and not by requirement of law. According to the Supreme Court’s decision in the Civil Rights
  Cases of 1883 the federal law gave no protection from such private acts.

  Where discrimination existed it was often erratic and inconsistent. On trains the usual practice was to exclude
  Negroes from rst-class or “ladies’ ” cars but to permit them to mix with whites in second-class or “smoking” cars. In
  the old seaboard states of the South, however, Negroes were as free to ride rst class as whites. In no state was
  segregation on trains complete, and in none was it enforced by law. The age of Jim Crow was still to come.
The rst genuine Jim Crow law requiring railroads to carry Negroes in separate cars or behind partitions was adopted
                Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 110 of 136 PageID #:110
by Florida in 1887. Mississippi followed this example in 1888; Texas in 1889; Louisiana in 1890; Alabama, Arkansas,
Georgia, and Tennessee in 1891; and Kentucky in 1892. The Carolinas and Virginia did not fall into line until the last
three years of the century.

Negroes watched with despair while the legal foundations for the Jim Crow system were laid and the walls of
segregation mounted around them. Their disenchantment with the hopes based on the Civil War amendments and the
Reconstruction laws was nearly complete by 1890. The American commitment to equality, solemnly attested by three
amendments to the Constitution and by elaborate civil rights acts, was virtually repudiated. The “compromise of 1877”
between the Hayes Republicans and the southern conservatives had resulted in the withdrawal of federal troops from
the South and the formal end of Reconstruction. What had started then as a retreat had within a decade turned into a
rout. Northern radicals and liberals had abandoned the cause: the courts had rendered the Constitution helpless; the
Republican party had forsaken the cause it had sponsored. A tide of racism was mounting in the country unopposed.

The colored community of New Orleans, with its strong infusion of French and other nationalities, was in a strategic
position to furnish leadership for the resistance against segregation. Many of these people had culture, education, and
some wealth, as well as a heritage of several generations of freedom. Unlike the great majority of Negroes, they were
city people with an established professional class and a high degree of literacy. By ancestry as well as by residence
they were associated with Latin cultures at variance with AngloAmerican ideas of race relations. Their forebears had
lived under the Code Noir decreed for Louisiana by Louis XIV, and their city faced out upon Latin America.

When the Jim Crow car bill was inirocluced in the Louisiana legislature, New Orleans Negroes organized to ght it.
Negroes were still voting in large numbers, and there were sixteen colored senators and representatives in the
Louisiana General Assembly. On May 24, 1890, that body received “A Protest of the American Citizens’ Equal Rights
Association of Louisiana Against Class Legislation.” An organization of colored people, the association protested that
the pending bill was “unconstitutional, unamerican, unjust, dangerous and against sound public policy.” It would,
declared the protest, “be a free license to the evilly-disposed that they might with impunity instdt, humiliate, and
otherwise maltreat inoffensive persons, and especially women and children who should happen to have a dark skin.”

On July 10, 1890, the Assembly passed the bill, the governor signed it, and it became law. Entitled “An Act to promote
the comfort of passengers,” the new law required railroads “to provide equal but separate accommodations lor the
white and colored races.” Two members of the Equal Rights Association, L. A. Martinet, editor of the New Orleans
Crusader , and R. L. Desdunes, placed heavy blame on the sixteen colored members of the Assembly for the passage of
the bill. According to Martinet, “they were completely the masters of the situation.” They had but to withhold their
support for a bill desired by the powerful Louisiana Lottery Company until the Jim Crow bill was killed. “But in an evil
moment,” he added, “our Representatives turned their ears to listen to the golden siren,” and “did so for a
‘consideration.’”

Putting aside recriminations, the Crusader declared: “The Bill is now a law. The next thing is what we are going to do?”
The editor spoke testily of boycotting the railroads, but concluded that “the next thing is…to begin to gather funds to
test the constitutionality of this law. We’ll make a case, a test case, and bring it before the Federal Courts.” On
September i, 1891, a group of eighteen men of color formed a “Citizens’ Committee to Test the Constitutionality of the
Separate Car Law.”

Money came in slowly at rst, but by October 11, Martinet could
write that the committee had already collected $1,500 and that
more could be expected “after we have the case well started.” Even before the money was collected, Martinet had
opened a correspondence about the case with Albion Winegar Tourgee of May ville, New York, and on October 10 the
Citizens’ Committee formally elected Tourgée “leading counsel in the case, from beginning to end, with power to
choose associates.”
This action called back into the stream of history a name prominent in the annals of Reconstruction. Albion Tourgée
               Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 111 of 136 PageID #:111
was in 1890 probably the most famous surviving carpetbagger. His fame was due not so much to his achievements as a
carpetbagger in North Carolina, signi cant though they were, as to the six novels about his Reconstruction experiences
that he had published since 1879. Born in Ohio, of French Huguenot descent, he had served as an of cer in the Union
Army, and moved to Greensboro, North Carolina, in 1865 to practice law. He soon became a leader of the Radical
Republican party, took a prominent part in writing the Radical Constitution of North Carolina, and served as a judge of
the superior court for six years with considerable distinction. He brought to the ght against segregation in Louisiana a
combination of zeal and ability that the Citizens’ Committee of New Orleans would have found it hard to duplicate.
They had reason to write him, “we know we have a friend in you &: we know your ability is beyond question.” He was
informed that the committee’s decision was made “spontaneously, warmly, & gratefully.”

Tourgée’s rst suggestion was that the person chosen for defendant in the test case be “nearly white,” but that proposal
raised some doubts. “It would be quite dif cult,” explained Martinet, “to have a lady too nearly white refused admission
to a ‘white’ car.” He pointed out that “people of tolerably fair complexion, even if unmistakably colored, enjoy here a
large degree of immunity from the accursed prejudice.…To make this case would require some tact.” He would
volunteer himself, “but I am one of those whom a fair complexion favors. I go everywhere, in all public places, thotigh
well-known all over the city, & never is anything said to me. On the cars it would be the same thing. In fact, color
prejudice, in this respect does not affect me. But, as I have said, we can try it, with another.”

Railroad of cials proved surprisingly co-operative. The rst one approached, however, confessed that his road “did not
enforce the law.” It provided the Jim Crow car and posted the required sign, but told its conductors to molest no one
who ignored instructions. Of cers of two other roads “said the law was a bad and mean one; they would like to get rid
of it,” and asked for time to consult counsel. “They want to help us,” said Martinet, “but dread public opinion.” The extra
expense of separate cars was one reason for railroad opposition to the Jim Crow law.

It was nally agreed that a white passenger should object to the presence of a Negro in a “white” coach, that the
conductor should direct the colored passenger to go to the Jim Crow car, and that he should refuse to go. “The
conductor will be instructed not to use force or molest,” reported Martinet, “& our white passenger will swear out the
af davit. This will give us our habeas corpus case, I hope.” On the appointed day, February 24, 1892, Daniel F. Desdunes,
a young colored man, bought a ticket for Mobile, boarded the Louisville & Nashville Railroad, and took a seat in the
white coach.

All went according to plan. Desdunes was committed for trial to the Criminal District Court in New Orleans and
released on bail. On March 21, James C. Walker, a local attorney associated with Tourgée in the case, led a plea
protesting that his client was not guilty and attacking the constitutionality of the Jim Crow law. He wrote Tourgée that
he intended to go to trial as early as he could.

Between the lawyers there was not entire agreement on procedure. Walker favored the plea that the law was void
because it attempted to regulate interstate commerce, over which the Supreme Court held that Congress had exclusive
jurisdiction. Tourgée was doubtful. “What we want,” he wrote Walker, “is not a verdict of not guilty, nor a defect in this
law but a decision whether such a law can be legally enacted and enforced in any state and we should get everything
off the track and out of the way for such a decision.” Walker confessed that “it’s hard for me to give up my pet hobby
that the law is void as a regulation of interstate commerce,” and Tourgée admitted that he “may have spoken too lightly
of the interstate commerce matter.”

The discussion was ended abruptly and the whole approach altered before Desdunes’ case came to trial by a decision of
the Louisiana Supreme Court handed down on May 25. In this case, which was of entirely independent origin, the court
reversed the ruling of a lower court and upheld the Pullman Company’s plea that the Jim Crow law was
unconstitutional in so far as it applied to interstate passengers.
Desdunes was an interstate passenger holding a ticket to Alabama, but the decision was a rather empty victory. The
                Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 112 of 136 PageID #:112
law still applied to intrastate passengers, and since all states adjacent to Louisiana had by this time adopted similar or
identical Jim Crow laws, the exemption of interstate passengers was of no great importance to the Negroes of
Louisiana, and it left the principle against which they contended unchallenged. On June i, Martinet wired Tourgée on
behalf of the committee, saying that “Walker wants new case wholly within state limits,” and asking Tourgée’s
opinion. Tourgée wired his agreement.

One week later, on June 7, Homer Adolph Plessy bought a ticket in New Orleans, boarded the East Louisiana Railroad
bound for Covington, a destination “wholly within the state limits,” and took a seat in the white coach. Since Plessy
later described himself as “seven-eighths Caucasian and one-eighth African blood,” and swore that “the admixture of
colored blood is not discernible,” it may be assumed that the railroad had been told of the plan and had agreed toco-
operate. When Plessy refused to comply with the conductor’s request that he move to the Jim Crow car, he was
arrested by Detective Christopher C. Cain “and quietly accompanied the of cer.” The New Orleans Times-Democrat
remarked that “It is generally believed that Plessy intends testing the law before the courts.”

In due course Homer Plessy’s case became Plessy v. Fergiison . The latter name belonged to John H. Ferguson, Judge of
Section A of the Criminal District Court for the Parish of New Orleans, who overruled the plea of Tourgée and Walker,
the defendant’s counsel, that the Jim Crow law was null and void because it was in con ict with the Constitution of
the United States. Plessy then applied to the State Supreme Court for a writ of prohibition and certiorari and was given
a hearing in November, 1892. The court recognized that neither the interstate commerce clause nor the question of
equality of accommodations was involved and held that “the sole question” was whether a law requiring “separate but
equal accommodations” violated the Fourteenth Amendment. Citing numerous decisions of lower federal courts to the
effect that accommodations did not have to be identical to be equal, the court as expected upheld the law.

“We have been at pains to expound this statute,” added the court, “because the dissatisfaction felt with it by a portion of
the people seems to us so unreasonable that we can account for it only on the ground of some misconception.”

Chief Justice Francis Redding Tillou Nicholls, heading the court that handed down this decision in 1892, had signed
the Jim Crow act as governor when it was passed in 1890. Previously he had served as the “Redeemer” governor who
took over Louisiana from the carpetbaggers in 1877 and inaugurated a brief regime of conservative paternalism. In
those days Nicholls had denounced race bigotry, appointed Negroes to of ce, and attracted many of them to his party.

L. A. Martinet wrote Tourgée that Nicholls in those years had been “fair & just to colored men” and had, in fact, “secured
a degree of protection to the colored people not enjoyed under Republican Governors.” But in November, 1892, the wave
of Populist rebellion among the white farmers was reaching its crest in the South, and Judge Nicholls’ change of
course typi ed the concessions to racism that conservatives of his class made in their efforts to forestall or divert the
rebellion. Nonetheless, at a further hearing Nicholls granted Plessy’s petition for a writ of error that permitted him to
seek redress before the Supreme Court of the United States.

The brief that Albion Tourgée submitted to the Supreme Court in behalf of Plessy breathed a spirit of equalitarianism
that was more in tune with his carpet-bagger days than with the prevailing spirit of the midnineties.

At the very outset, he advanced an argument in behalf of his client that unconsciously illustrated the paradox that had
from the start haunted the American attempt to reconcile strong color prejudice with deep equalitarian commitments.

Plessy, he contended, had been deprived of property without due process of law. The “property” in question was the
“reputation of being white.” It was “the most valuable sort of property, being the master-key that unlocks the golden
door of opportunity.” Intense race prejudice excluded any man suspected of having Negro blood “from the friendship
and companionship of the white man,” and therefore from the avenues to wealth, prestige, and opportunity. “Probably
most white persons if given the choice,” he held, “would prefer death to life in the United States as colored persons .”
Since Tourgée had proposed that a person who was “nearly white” be selected for the test case, it may be presumed
               Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 113 of 136 PageID #:113
that he did so with this argument in mind. But this was not a defense of the colored man against discrimination by
whites, but a defense of the “nearly” white man against the penalties of color. The argument, whatever its merits,
apparently did not impress the Court.

Tourgée went on to develop more relevant points. He emphasized especially the incompatibility of the segregation law
with the spirit and intent of the Thirteenth and particularly the Fourteenth amendments. Segregation perpetuated
distinctions “of a servile character, coincident with the institution of slavery.” He held that “slavery was a caste, a legal
condition of subjection to the dominant class, a bondage quite separable from the incident of ownership.” He scorned
the pretense of impartiality and equal protection advanced in the defense of the “separate but equal” doctrine.

“The object of such a law,” he declared, “is simply to debase and distinguish against the inferior race. Its purpose has
been properly interpreted by the general designation of ‘Jim Crow Car’ law. Its object is to separate the Negroes from
the whites in public conveyances for the grati cation and recognition of the sentiment of white superiority and white
supremacy of right and power.” He asked the members of the Court to imagine the tables turned and themselves
ordered into a Jim Crow car. “What humiliation, what rage would then ll the judicial mind!” he exclaimed.

The clue to the true intent of the Louisiana statute was that it did not apply “to nurses attending the children of the
other race.” On this clause Tourgée shrewdly observed:

The exemption of nurses shows that the real evil lies not in the color of the skin but in the relation the colored person
sustains to the white. If he is a dependent it may be endured: if he is not, his presence is insufferable. Instead of being
intended to promote the general comfort and moral well-being, this act is plainly and evidently intended to promote
the happiness of one class by asserting its supremacy and the inferiority of another class. Justice is pictured blind and
her daughter, the Law, ought at least to be color-blind.

Tourgée then asked the Court to look to the future. Should the separate-car law be upheld, he inquired, “what is to
prevent the application of the same principle to other relations?” Was there any limit to such laws? “Why not require all
colored people to walk on one side of the street and whites on the other?…One side of the street may be just as good as
the other.…The question is not as to the equality of the privileges enjoyed, but the right of the State to label one citizen
as white and another as colored in the common enjoyment of a public highway.”

The Supreme Court did not get around to handing down a decision on Plessy v. Ferguson until 1896. In the years that
intervened between the passage of the Louisiana segregation law in July, 1890, and the time of the eventual decision
on its constitutionality in 1896, the retreat from the commitment to equality had quickened its pace in the South and
met with additional acquiescence, encouragement, and approval in the North. Two states had already disfranchised
the Negro, and several others, including Louisiana, were planning to take the same course. In 1892 Congress defeated
the Lodge Bill, designed to extend federal protection to elections, and in 1894 it wiped from the federal statute books a
mass of Reconstruction laws for the protection of equal rights. And then, on September 18, 1895, Booker T. Washington
delivered a famous speech embodying the so-called “Atlanta Compromise,” which was widely interpreted as an
acceptance of subordinate status for the Negro by the foremost leader of the race.

On May 18, 1896, Justice Henry Billings Brown, a resident of Michigan but a native of Massachusetts, delivered the
opinion of the Court in the case of Plessy v. Ferguson . His views upholding the defendant’s case —that the “separate but
equal” doctrine was constitutional—were in accord with those of all his brothers, with the possible exception of Justice
David Josiah Brewer, who did not participate, and the certain exception of Justice John Marshall Harlan, who
vigorously dissented in phrases that often echoed Tourgee’s arguments. In approving, to all intents and purposes, the
principle of segregation, Justice Brown followed not only the trend of the times, but a host of state judicial precedents,
which he cited at length. That there were no federal judicial precedents to the contrary only added to the technical
strength of his position. Just as telling, perhaps, was Brown’s mention of the action of Congress in establishing
segregated schools for the District of Columbia, an action endorsed by Radical Republicans who had supported the
Fourteenth Amendment, and sustained in regular congressional appropriations ever since.
Similar laws, wrote
               Case:Brown,  were adopted
                      1:21-cv-03467        by “the legislatures
                                       Document                 of many states,
                                                    #: 1 Filed: 06/28/21 Pageand114have  been
                                                                                     of 136    generally,
                                                                                             PageID       if not uniformly,
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sustained by the courts.” The validity of such segregation laws, he maintained, depended on their “reasonableness.”
And in determining reasonableness, the legislature “is at liberty to act with reference to the established usages,
customs, and traditions of the people, and with a view to the promotion of their comfort, and the preservation of the
public peace and good order.”

In addition to judicial precedent and accepted practice, Justice Brown ventured into the more uncertain elds of
sociology and psychology for support of his opinion. He wrote:

We consider the underlying fallacy of the plaintiff’s argument to consist in the assumption that the enforced
separation of the two races stamps the colored race with a badge of inferiority. If this be so, it is not by reason of
anything found in the act, but solely because the colored race chooses to put that construction upon it.…The argument
also assumes that social prejudices may be overcome by legislation, and that equal rights cannot be secured by the
negro except by an enforced commingling of the two races. We cannot accept this proposition.…Legislation is
powerless to eradicate racial instincts, or to abolish distinctions based upon physical differences, and the attempt to do
so can only result in accentuating the dif culties of the present situation. If the civil and political rights of both races
be equal, one cannot be inferior to the other civilly or politically. If one race be inferior to the other socially, the
constitution of the United States cannot put them upon the same plane.

One of the most fascinating paradoxes in American jurisprudence is that the opinion of a native son of Massachusetts,
Brown, should have bridged the gap between the radical equalitarian commitment of 1868 and the reactionary
repudiation of that commitment in 1896; and that Harlan, a southerner, should have bridged the greater gap between
the repudiation of 1896 and the radical rededication to the equalitarian idealism of 1868 in 1954. For the dissenting
opinion of Justice Harlan, embodying many of the arguments of Plessy’s ex-carpetbagger counsel, foreshadowed the
Court’s eventual repudiation of the Plessy v. Ferguson decision and the doctrine of “separate but equal” more than half a
century later—a repudiation in which, t- tingly enough, Harlan’s grandson and namesake on the Warren Court wholly
concurred.

The elder John Marshall Harlan is correctly described by Robert Cushman as “a Southern gentleman and a slave-
holder, and at heart a conservative.” A Kentuckian of the Whig persuasion, Harlan had opposed secession and fought in
the Union Army, but at the same time he opposed both the emancipation of the slaves and the passage of civil rights
laws to protect the rights of the freedmen. Shocked by Ku Klux excesses, he experienced a sudden conversion,
renounced his former views, became a Republican in 1868, and was appointed to the Supreme Court by President Hayes
in 1877.

After his conversion Harlan became one of the most outspoken champions of Negro rights of his time, and during his
thirty-four years on the bench he lifted his voice repeatedly against denial of those rights by the dominant opinion of
the Court. His famous dissent in the Civil Rights Cases of 1883 had denounced the “subtle and ingenious verbal
criticism” by which “the substance and spirit of the recent amendments of the Constitution have been sacri ced.” And
in 1896 he was ready to strike another blow for his adopted cause.

Harlan held the Louisiana segregation law in clear con ict with both the Thirteenth and the Fourteenth amendments.
The former “not only struck down the institution of slavery,” but also “any burdens or disabilities that constitute badges
of slavery or servitude,” and segregation was just such a burden or badge. Moreover, the Fourteenth Amendment “added
greatly to the dignity and glory of American citizenship, and to the security of personal liberty,” and segregation denied
to Negroes the equal protection of both dignity and liberty. “The arbitrary separation of citizens, on the basis of race,
while they are on a public highway,” he said, “is a badge of servitude wholly inconsistent with the civil freedom and the
equality before the law established by the constitution. It cannot be justi ed upon any legal grounds.”
Harlan was as scornful as Tourgée had been of the claim that the separate-car law did not discriminate against the
               Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 115 of 136 PageID #:115
Negro. “Every one knows,” he declared, that its purpose was “to exclude colored people from coaches occupied by or
assigned to white persons.” This was simply a poorly disguised means of asserting the supremacy of one class of
citizens over another. The Justice continued:

But in view of the constitution, in the eye of the law, there is in this country no superior, dominant, ruling class of
citizens. There is no caste here. Our constitution is color-blind, and neither knows nor tolerates classes among citizens.
In respect of civil rights, all citizens are equal before the law. The humblest is the peer of the most powerful. The law
regards man as man, and takes no account of his surroundings, or of his color when his civil rights as guarantied by
the supreme law of the land are involved.…We boast of the freedom enjoyed by our people above all other peoples. But it
is dif cult to reconcile that boast with a state of law which, practically, puts the brand of servitude and degradation
upon a large class of our fellow citizens,—our equals before the law. The thin disguise of “equal” accommodations for
passengers in railroad coaches will not mislead any one, nor atone for the wrong this day done.

“The present decision, it may well be apprehended,” predicted Harlan, “will not only stimulate aggressions, more or less
brutal and irritating, upon the admitted rights of colored citizens, but will encourage the belief that it is possible, by
means of state enactments, to defeat the bene cent purposes which the people of the United States had in view when
they adopted the recent amendments of the constitution.…” For if the state may so regulate the railroads, “why may it
not so regulate the use of the streets of its cities and towns as to compel white citizens to keep on one side of a street,
and black citizens to keep on the other,” or, for that matter, apply the same regulations to streetcars and other vehicles,
or to courtroom, the jury box, the legislative hall, or to any other place of public assembly?

“In my opinion,” the Kentuckian concluded, “the judgment this day rendered will, in time, prove to be quite as
pernicious as the decision made by this tribunal in the Dred Scott Case.”

But Harlan was without allies on the Court, and the country as a whole received the news of its momentous decision
upholding the “separate but equal” doctrine in relative silence and apparent indifference. Thirteen years earlier the
Civil Rights Cases had precipitated pages of news reports, hundreds of editorials, indignant rallies, congressional bills,
a Senate report, and much general debate. In striking contrast, the Plessy decision was accorded only short,
inconspicuous news reports and virtually no editorial comment outside the Negro press. A great change had taken
place, and the Court evidently now gave voice to the dominant mood of the country. Justice Harlan had spoken for the
forgotten convictions of a bygone era.

The racial aggressions he foresaw came in a ood after the decision of 1896. Even Harlan indicated by his opinion of
1899 in Cummings v. Board of Education that he saw nothing unconstitutional in segregated public schools. Virginia
was the last state in the South to adopt the separate-car law, and she resisted it only until 1900. Up to that year this was
the only law of the type adopted by a majority of the southern states. But on January 12, 1900, the editor of the
Richmond Times was in full accord with the new spirit when he asserted: “It is necessary that this principle be applied
in every relation of Southern life. God Almighty drew the color line and it cannot be obliterated. The negro must stay on
his side of the line and the white man must stay on his side, and the sooner both races recognize this fact and accept it,
the better it will be for both.”

With a thoroughness approaching the incredible, the color line was drawn and the Jim Crow principle was applied
even in those areas that Tourgée and Harlan had suggested a few years before as absurd extremes. In sustaining all
these new laws, courts universally and con dently cited Plessy v. Ferguson as their authority. They continued to do so
for more than half a century.

On April 4, 1950, Justice Robert H. Jackson wrote old friends in Jamestown, New York, of his surprise in running across
the name of Albion W. Tourgée, once a resident of the nearby village of Mayville, in connection with segregation
decisions then pending before the Supreme Court. “The Plessy case arose in Louisiana,” he wrote, “and how Tourgée got
into it I have not learned. In any event, I have gone to his old brief, led here, and there is no argument made today that
he would not make to the Court. He says, ‘Justice is pictured blind and her daughter, the Law, ought at least to be color-
blind.’ Whether this was original with him, it has been gotten off a number of times since as original wit. Tourgée’s
               Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 116 of 136 PageID #:116
brief was led April 6, 1896 and now, just fty-four years after, the question is again being argued whether his position
will be adopted and what was a defeat for him in ’96 be a postmortem victory.”

Plessy v. Ferguson remained the law of the land for fty-eight years lacking one day, from May 18, 1896, to May 17, 1954,
when the Supreme Court at last renounced it in the school segregation cases of Brown et al. v. Board of Education of
Topeka , et al. In that decision could indeed be found, at long last, a vindication, “a post-mortem victory”—not only for
the excarpetbagger Tourgée, but for the ex-slaveholder Harlan as well.



  «     1      2    3      4     5     6     »                                                                       View full article


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This Is Why The Royal Family Kept Quiet About Prince Harry's Sister
Case: 1:21-cv-03467 Document #: 1 Filed: 06/28/21 Page 117 of 136 PageID #:117




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   4
       Occupational Health, Cleveland Clinic, Cleveland, Ohio.



   Keywords: SARS-CoV-2; COVID-19; Incidence; Vaccines; Immunity;

   Running Title: COVID-19 vaccination if already infected



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   Summary: Cumulative incidence of COVID-19 was examined among 52238 employees in an American

   healthcare system. COVID-19 did not occur in anyone over the five months of the study among 2579

   individuals previously infected with COVID-19, including 1359 who did not take the vaccine.




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   ABSTRACT


   Background.         The purpose of this study was to evaluate the necessity of COVID-19 vaccination in

   persons previously infected with SARS-CoV-2.

   Methods.            Employees of the Cleveland Clinic Health System working in Ohio on Dec 16, 2020, the

   day COVID-19 vaccination was started, were included. Any subject who tested positive for SARS-CoV-2

   at least 42 days earlier was considered previously infected. One was considered vaccinated 14 days after

   receipt of the second dose of a SARS-CoV-2 mRNA vaccine. The cumulative incidence of SARS-CoV-2

   infection over the next five months, among previously infected subjects who received the vaccine, was

   compared with those of previously infected subjects who remained unvaccinated, previously uninfected

   subjects who received the vaccine, and previously uninfected subjects who remained unvaccinated.

   Results.            Among the 52238 included employees, 1359 (53%) of 2579 previously infected subjects

   remained unvaccinated, compared with 22777 (41%) of 49659 not previously infected. The cumulative

   incidence of SARS-CoV-2 infection remained almost zero among previously infected unvaccinated

   subjects, previously infected subjects who were vaccinated, and previously uninfected subjects who were

   vaccinated, compared with a steady increase in cumulative incidence among previously uninfected

   subjects who remained unvaccinated. Not one of the 1359 previously infected subjects who remained

   unvaccinated had a SARS-CoV-2 infection over the duration of the study. In a Cox proportional hazards

   regression model, after adjusting for the phase of the epidemic, vaccination was associated with a

   significantly lower risk of SARS-CoV-2 infection among those not previously infected (HR 0.031, 95%

   CI 0.015 to 0.061) but not among those previously infected (HR 0.313, 95% CI 0 to Infinity).

   Conclusions.        Individuals who have had SARS-CoV-2 infection are unlikely to benefit from COVID-19

   vaccination, and vaccines can be safely prioritized to those who have not been infected before.




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                                               available under        06/28/21
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                                                                              4.0 International       of. 136 PageID #:120
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   INTRODUCTION


             The two FDA-approved (BNT162b2 mRNA [Pfizer-BioNTech] and mRNA-1273 [Moderna])

   mRNA vaccines have been shown to be very efficacious in protecting against Severe Acute Respiratory

   Syndrome (SARS) – associated Coronavirus-2 (SARS-CoV-2) infection [1,2]. The effectiveness of the

   Pfizer-BioNTech vaccine in a real-world setting has also been shown to be comparable to the efficacy

   demonstrated in clinical trials [3,4]. Given these, there has been an understandable desire to vaccinate as

   many people as possible.

             The ability to vaccinate a large part of the population is limited by the supply of vaccine. As of

   March 21, 2021, 78% of 447 million doses of the coronavirus disease 2019 (COVID-19) vaccines that

   had been deployed had gone to only ten countries [5]. The COVAX initiative was borne out of the

   recognition that equitable distribution of vaccines worldwide was essential for effective control of the

   COVID-19 pandemic. However, the reality is that there is great disparity in the availability of vaccines

   across countries. Countries with limited supplies of vaccine have to prioritize how their supply of

   vaccines will be allocated within their populations. Criteria used for such prioritization have included

   profession, age, and comorbid conditions. Data that inform prioritization criteria with help maximize the

   benefits of whatever vaccine is available.

             Observational studies have found very low rates of reinfection among individuals with prior

   SARS-CoV-2 infection [6–8]. This brings up the question about whether it is necessary to vaccinate

   previously infected individuals. These studies notwithstanding, there remains a theoretical possibility that

   the vaccine may still provide some benefit in previously infected persons. A prior large observational

   study concluded that immunity from natural infection cannot be relied on to provide adequate protection

   and advocated for vaccination of previously infected individuals [9]. The CDC website recommends that

   persons previously infected with SARS-CoV-2 still get the vaccine [10]. Despite these recommendations,

   credible reports of previously infected persons getting COVID-19 are rare. The rationale often provided

   for getting the COVID-19 vaccine is that it is safer to get vaccinated than to get the disease. This is


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   certainly true, but it is not an explanation for why people who have already had the disease need to be

   vaccinated. A strong case for vaccinating previously infected persons can be made if it can be shown that

   previously infected persons who are vaccinated have a lower incidence of COVID-19 than previously

   infected persons who did not receive the vaccine.

             The purpose of this study was to attempt to do just that, and thereby evaluate the necessity of the

   COVID-19 vaccine in persons who were previously infected with SARS-CoV-2.




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                                                                              4.0 International       of. 136 PageID #:122
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   METHODS


   Study design

             This was a retrospective cohort study conducted at the Cleveland Clinic Health System in Ohio,

   USA. The study was approved by the Cleveland Clinic Institutional Review Board. A waiver of informed

   consent and waiver of HIPAA authorization were approved to allow access to personal health information

   by the research team, with the understanding that sharing or releasing identifiable data to anyone other

   than the study team was not permitted without additional IRB approval.




   Setting

             PCR testing for SARS-CoV-2 at Cleveland Clinic began on March 12, 2020, and a streamlined

   process dedicated to the testing of health care personnel (HCP) was begun shortly thereafter. All

   employees with a positive SARS-CoV-2 test were interviewed by Occupational Health, with date of onset

   of symptoms of COVID-19 being one of the questions asked. Vaccination for COVID-19 began at

   Cleveland Clinic on December 16, 2020. When initially started it was the Pfizer-BioNTech vaccine that

   was administered, until the Moderna vaccine became available, from which time employees received one

   or the other. All employees were scheduled to receive their second vaccine dose 28 days after the first

   one, regardless of which vaccine was given. The employee cohort was chosen for this study because of

   documentation of their COVID-19 vaccination and of any SARS-CoV-2 infection in the Occupational

   Health database.




   Participants

             All employees of the Cleveland Clinic Health System, working in Ohio, on Dec 16, 2020, were

   screened for inclusion in the study. Those who were in employment on December 16, 2020, were

   included.

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                                                                              4.0 International       of. 136 PageID #:123
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   Variables

             SARS-CoV-2 infection was defined as a positive nucleic acid amplification test. The date of

   infection was taken to be the date of onset of symptoms when available, and the date of specimen

   collection when not. A person was considered vaccinated 14 days after receipt of the second dose of the

   vaccine (which would have been 42 days after receipt of the first dose of the vaccine for most subjects).

   For the sake of consistency in the duration assumed for development of natural and vaccine immunity,

   any person who tested positive for SARS-CoV-2 at least 42 days before the vaccine rollout date, was

   considered previously infected. Other covariates collected were age, job location, job type (patient-facing

   or non-patient facing), and job category. The job location variable could be one of the following:

   Cleveland Clinic Main Campus, regional hospital (within Ohio), ambulatory center, administrative center,

   or remote location. The job category was one of the following: professional staff, residents/fellows,

   advance practice practitioners, nursing, pharmacy, clinical support, research, administration, and

   administration support.




   Outcome

             The study outcome was time to SARS-CoV-2 infection, the latter defined as a positive nucleic

   acid amplification test for SARS-CoV-2 on or after December 16, 2020. Time to SARS-CoV-2 infection

   was calculated as number of days from December 16, 2020 (vaccine rollout date) to SARS-CoV-2

   infection. Employees that had not developed a SARS-CoV-2 infection were censored at the end of the

   study follow-up period (May 15, 2021). Those who received the Johnson & Johnson vaccine (81 subjects)

   without having had a SARS-CoV-2 infection were censored on the day of receipt of the vaccine, and

   those whose employment was terminated during the study period before they had SARS-CoV-2 infection

   (2245 subjects) were censored on the date of termination of employment. The health system never had a

   requirement for asymptomatic employee test screening. Most of the positive tests, therefore, would have

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   been tests done to evaluate suspicious symptoms. A small proportion would have been tests done as part

   of pre-operative or pre-procedural screening.




   Statistical analysis

             A Simon-Makuch hazard plot [11] was created to compare the cumulative incidence of SARS-

   CoV-2 infection among previously infected subjects who were vaccinated, with those of previously

   infected subjects who remained unvaccinated, previously uninfected subjects who were vaccinated, and

   previously uninfected subjects who remained unvaccinated. Previous infection was treated as a time-

   independent covariate (SARS-CoV-2 infection at least 42 days before Dec 16, 2020), and vaccination (14

   days after receipt of the second dose of the vaccine) was treated as a time-dependent covariate (Figure 1).

   Curves for the unvaccinated were based on data for those who did not receive the vaccine over the

   duration of the study, and for those who did until the date they were considered vaccinated, from which

   point onwards their data were recorded into the corresponding vaccinated set. A Cox proportional hazards

   regression model was fitted with time to SARS-CoV-2 infection as the outcome variable against

   vaccination (as a time-dependent covariate whose value changed on the date a subject was considered

   vaccinated)[12]. Previous infection (as a time-independent covariate) and an interaction term for previous

   infection and vaccination were included as covariates. The phase of the epidemic was adjusted for by

   including the slope of the epidemic curve as a time-dependent covariate whose value changed

   continuously with the slope of the epidemic curve. The analysis was performed by NKS and ASN using

   the survival package and R version 4.0.5 [12–14].




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                                                                              4.0 International       of. 136 PageID #:125
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   RESULTS


             Of 52238 employees included in the study, 2579 (5%) were previously infected with SARS-CoV-

   2.




   Baseline characteristics

             Those previously infected with SARS-CoV-2 were significantly younger (mean ± SD age; 39 ±

   13 vs. 42 ± 13, p<0.001), and included a significantly higher proportion with patient-facing jobs (65% vs.

   51%, p<0.001). Table 1 shows the characteristics of subjects grouped by whether or not they were

   previously infected. A significantly lower proportion of those previously infected (47%, 1220 subjects)

   were vaccinated by the end of the study compared to 59% (29461) of those not previously infected

   (p<0.001). Of those vaccinated, 63% received the Moderna vaccine. Twelve percent of subjects with

   previous SARS-CoV-2 infection did not have a symptom onset date, suggesting they may possibly have

   been identified on pre-operative or pre-procedural screening, and may not have had symptomatic

   infection. When vaccination was begun, the epidemic in Ohio was at the peak of its third wave (Figure 2).




   Cumulative incidence of COVID-19

             Figure 3 is a Simon-Makuch plot showing that SARS-CoV-2 infections occurred almost

   exclusively in subjects who were not previously infected with SARS-CoV-2 and who remained

   unvaccinated. The cumulative incidence of SARS-CoV-2 infection among previously infected

   unvaccinated subjects did not differ from that of previously infected subjects who were vaccinated, and

   that of previously uninfected subjects who were vaccinated. For all three of these groups, the cumulative

   incidence of SARS-CoV-2 infection was much lower than that of subjects who were not previously

   infected and who remained unvaccinated. Of the 2154 SARS-CoV-2 infections during the study period,

   2139 (99.3%) occurred among those not previously infected who remained unvaccinated or were waiting


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                                               available under        06/28/21
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                                                                              4.0 International       of. 136 PageID #:126
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   to get vaccinated, and15 (0.7%) occurred among those not previously infected who were vaccinated. Not

   one of the 2579 previously infected subjects had a SARS-CoV-2 infection, including 1359 who remained

   unvaccinated throughout the duration of the study.




   Association of vaccination with occurrence of COVID-19

             In a Cox proportional hazards regression model, after adjusting for the phase of the epidemic,

   vaccination was associated with a significantly lower risk of SARS-CoV-2 infection among those not

   previously infected (HR 0.031, 95% CI 0.015 – 0.061) but not among those previously infected (HR

   0.313, 95% CI 0 – Infinity). The absence of events among those who were previously infected, whether

   they received the vaccine or not, precluded accurate or precise estimates for the latter effect size.




   Duration of protection

             This study was not specifically designed to determine the duration of protection afforded by

   natural infection, but for the previously infected subjects the median duration since prior infection was

   143 days (IQR 76 – 179 days), and no one had SARS-CoV-2 infection over the following five months,

   suggesting that SARS-CoV-2 infection may provide protection against reinfection for 10 months or

   longer.




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                                               available under        06/28/21
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                                                                              4.0 International       of. 136 PageID #:127
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   DISCUSSION


             This study shows that subjects previously infected with SARS-CoV-2 are unlikely to get COVID-

   19 reinfection whether or not they receive the vaccine. This finding calls into question the necessity to

   vaccinate those who have already had SARS-CoV-2 infection.

             It is reasonable to expect that immunity acquired by natural infection provides effective

   protection against future infection with SARS-CoV-2. Observational studies have indeed found very low

   rates of reinfection over the following months among survivors of COVID-19 [6–8]. Reports of true

   reinfections are extremely rare in the absence of emergence of new variants. When such reinfections

   occur, it would be purely speculative to suggest that a vaccine might have prevented them. Duration of

   protective immunity from natural infection is not known. However, the same also can be said about

   duration of protective immunity from vaccination. Uncertainty about the duration of protective immunity

   afforded by natural infection is not by itself a valid argument for vaccinating previously infected

   individuals. This study provides direct evidence that vaccination with the best available vaccines does not

   provide additional protection in previously infected individuals.

             A prior study concluded that natural infection cannot be relied on to protect against COVID-19

   [9]. That study was based on comparison of PCR-positivity rates during a second COVID-19 surge in

   Denmark between those who tested positive and negative during the first COVID-19 surge, and indirectly

   calculated that prior infection provided 80.5% protection against repeat infection, and that protection

   against those older than 65 years was only 47.1%. The study did not compare vaccinated and

   unvaccinated people, and it is therefore an assumption to consider that a vaccine would have provided

   better protection in that particular population. Furthermore, there was a gap of only seven weeks between

   the end of the first surge and the beginning of the second in that study. It is now well-known that a small

   number of people can continue to have positive PCR test results for several weeks to a few months after

   infection, one study finding that 5.3% remained positive at 90 days [15]. It is possible that some of the

   positives picked up in the early part of the second surge were not necessarily new infections but residual


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                                               available under        06/28/21
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                                                                                                license




   virus from the tail end of the first surge. Since the actual number of infections was small, a few such

   misclassifications could change the rates substantially. Our study examined rates of SARS-CoV-2

   infection in vaccinated and unvaccinated individuals and showed that those previously infected who did

   not receive the vaccine did not have higher rates of SARS-CoV-2 infection than those previously infected

   who did, thereby providing direct evidence that vaccination does not add protection to those who were

   previously infected.

             There are several strengths to our study. Its large sample size and follow-up of up to 5 months

   provide us with an ample degree of confidence in its findings. A major strength of our study is that we

   adjusted the analyses for the phase of the epidemic at all time points. The risk of acquisition of infection

   is strongly influenced by the phase of the epidemic at any given time, and it is important to adjust for this

   for accurate risk analyses. Given that was this a study among employees of a health system, and that the

   health system had policies and procedures in recognition of the critical importance of keeping track of the

   pandemic among its employees, we had an accurate accounting of who had COVID-19, when they were

   diagnosed with COVID-19, who received a COVID-19 vaccine, and when they received it.

             The study has its limitations. Because we did not have a policy of asymptomatic employee

   screening, previously infected subjects who remained asymptomatic might have been misclassified as

   previously uninfected. Given this limitation, one should be cautious about drawing conclusions about the

   protective effect of prior asymptomatic SARS-CoV-2 infection. It should be noted though, that 12% of

   the subjects classified as previously infected did not have a symptom onset date recorded, suggesting that

   at least some of those classified as previously infected might have been asymptomatic infections. It is

   reassuring that none of these possibly asymptomatically infected individuals developed COVID-19 during

   the duration of the study. The study follow-up duration was short, being only five months, but this was

   longer than published mRNA vaccine efficacy studies [1,2], and longer than the follow-up duration of the

   largest published vaccine effectiveness studies to date [3,4]. Median freedom from reinfection (time from

   initial infection until end of follow-up) in this study, for those previously infected, of almost 10 months, is

   consistent with findings in an earlier study that immunoglobulin G (IgG) to the spike protein remained

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                                                                              4.0 International       of. 136 PageID #:129
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   stable over more than six months after an episode of infection [16]. Our study included no children and

   few elderly subjects, and the majority would not have been immunosuppressed. Data governance policies

   in our institution precluded us from obtaining detailed clinical information on employees. While one

   cannot generalize this study’s findings to assume that prior infection would provide adequate immunity in

   these groups, there is also no reason to expect a vaccine to provide additional protection in these same

   groups. Lastly, it is necessary to emphasize that these findings are based on the prevailing assortment of

   virus variants in the community during the study. It is not known how well these results will hold if or

   when some of the newer variants of concern become prominent. However, if prior infection does not

   afford protection against some of the newer variants of concern, there is little reason to suppose that the

   currently available vaccines would either. Vaccine breakthrough infections with variants have indeed

   been reported [17].

             Our study’s findings have important implications. Worldwide, COVID-19 vaccines are still in

   short supply. As of March 9, 2021, dozens of countries had not been able to administer a single dose of

   the vaccine [18]. As of May 17, 2021, only 17 countries had been able to reach ten percent or more of

   their populations with at least the first dose of vaccine [19]. Given such a scarcity of the vaccine, and the

   knowledge that vaccine does not provide additional protection to those previously infected, it would make

   most sense to limit vaccine administration to those who have not previously had the infection. In addition

   to profession, age, and comorbid conditions, previous infection should be an important consideration in

   deciding whom to prioritize to receive the vaccine. A practical and useful message would be to consider

   symptomatic COVID-19 to be as good as having received a vaccine, and that people who have had

   COVID-19 confirmed by a reliable laboratory test do not need the vaccine.

             In conclusion, individuals who have laboratory-confirmed symptomatic SARS-CoV-2 infection

   are unlikely to benefit from COVID-19 vaccination, and vaccines can be safely prioritized to those who

   have not been infected before.




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   TRANSPARENCY DECLARATION


   Conflict of Interest

   Selection of “no competing interests” reflects that all authors have completed the ICMJE uniform

   disclosure form at                                                 and declare: no support from any organization for

   the submitted work; no financial relationships with any organizations that might have an interest in the

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   Author contributions

   NKS: Conceptualization, Methodology, Validation, Investigation, Data curation, Software, Formal

   analysis, Visualization, Writing- Original draft preparation, Writing- Reviewing and Editing, Supervision,

   Project administration.

   ASN: Methodology, Formal analysis, Visualization, Validation, Writing- Reviewing and Editing.

   PCB: Resources, Investigation, Validation, Writing- Reviewing and Editing.

   PT: Resources, Writing- Reviewing and Editing.

   SMG: Project administration, Resources, Writing- Reviewing and Editing.




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   TABLES


   Table 1. Study Subject Characteristics


   Characteristic                                        Previously Infected     Not Previously Infected               P Value

                                                              (N = 2579)                 (N = 49659)

   Age, y, mean ± SD                                            39±13                       42±13                       <0.001

   Patient-facing job                                         1676 (65)                  25504 (51)                     <0.001

   Job location                                                                                                         <0.001

        Cleveland Clinic Main Campus                          1011 (39)                  19595 (40)

        Regional hospitals                                    1096 (43)                  16433 (33)

        Ambulatory centers                                     313 (12)                   7767 (16)

        Administrative centers                                 138 (5)                     4424 (9)

        Remote location                                        21 (<1)                     1440 (3)

   Job category                                                                                                         <0.001

      Professional staff                                        89 (4)                     3775 (8)

      Residents and fellows                                     72 (3)                     1669 (3)

      Advanced practice practitioners                          154 (6)                     2806 (6)

      Nursing                                                 1142 (44)                  13623 (27)

      Pharmacy                                                  44 (2)                     1274 (3)

      Research                                                 328 (13)                   6776 (14)

      Clinical support                                         111 (4)                     3500 (7)

      Administration                                           614 (24)                   15050(30)

      Administration support                                    25 (1)                     1186 (2)

   Data are presented as no. (%) unless otherwise indicated




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   FIGURES




   Figure 1. Explanation of “previously infected” analyzed as a time-independent covariate and

   “vaccinated” treated as a time-dependent covariate.




                                                                                                                                    17
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   Figure 2. COVID-19 epidemic curve before and after vaccine rollout. Points on the scatter plot

   represent the proportion of all COVID-19 PCR tests done at Cleveland Clinic that were positive on any

   given day. The colored line represents a fitted polynomial curve.




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   Figure 3. Simon-Makuch plot showing the cumulative incidence of COVID-19 among subjects

   previously infected and not previously infected with COVID-19, who did and did not receive the

   vaccine. Curves for the unvaccinated are based on data for those who did not receive the vaccine during

   the duration of the study, and for those waiting to receive the vaccine. Day zero was Dec 16, 2020, the

   day vaccination was started in our institution. Error bars represent 95% confidence intervals. Seven

   subjects who had been vaccinated earlier as participants in clinical trials were considered vaccinated

   throughout the duration of the study. Twelve subjects who received their first dose in the first week of the

   vaccination campaign managed to get their second dose three weeks later, and were thus considered

   vaccinated earlier than 42 days since the start of the vaccination campaign.



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